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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


     DREW ADAMS, a minor, by and
     through his next friend and mother,
     Erica Adams Kasper,

                         Plaintiff,
     vs.                                                  Case No. 3:17-cv-739-J-32JBT

     THE SCHOOL BOARD OF ST. JOHNS
     COUNTY, FLORIDA,

                         Defendant.


                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

           The parents of St. Johns County, along with teachers and administrators of the

     St. Johns County School District, have a solemn obligation to guard the well-being of

     the children in their charge. As recent events from around the country have tragically

     demonstrated, this is a very challenging job. Recognizing the difficulty of this task and

     that local school boards, answerable to the citizens of their community, are best

     situated to set school policy, federal courts are reluctant to interfere. Nevertheless,

     the federal court also has a solemn obligation: to uphold the Constitution and laws

     of the United States. That is why federal courts around the country have recognized

     the right of transgender students to use the bathroom matching their gender identity.

           Drew Adams is a rising senior at Allen D. Nease High School.                He is

     transgender, meaning he “consistently, persistently, and insistently” identifies as a
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     boy, a gender that is different than the sex he was assigned at birth (female).1 At trial,

     Adams testified: “I am a boy and I know that with every fiber of my being.”2 However,

     when the principal of Nease was asked whether she considered Adams to be a boy,

     she replied, “I do not.”3 That’s what this case is about. Everyone agrees that boys

     should use the boys’ restroom at Nease and that girls should use the girls’ restroom.

     The parties disagree over whether Drew Adams is a boy.

            I can only answer that question with the evidence given to me at trial. Drew

     Adams says he is a boy and has undergone extensive surgery to conform his body

     to his gender identity; medical science says he is a boy; the State of Florida says so

     (both Adams’ Florida birth certificate and Florida driver’s license say he is a male);

     and the Florida High School Athletic Association says so. Other than at his school,

     Adams uses the mens’ bathroom wherever he goes, including in this federal

     courthouse during trial. Even the St. Johns County School Board regards Adams as

     a boy in every way, except for which bathroom he can use.

            When confronted with something affecting our children that is new, outside of

     our experience, and contrary to gender norms we thought we understood, it is natural

     that parents want to protect their children. But the evidence is that Drew Adams


        1
         Doc. 119, Ex. A at 7.
        2
         Doc. 160-1 at transcript page (“Tr.”) 83.
        3
         Doc. 162 at Tr. 140.

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     poses no threat to the privacy or safety of any of his fellow students. Rather, Drew

     Adams is just like every other student at Nease High School, a teenager coming of

     age in a complicated, uncertain and changing world. When it comes to his use of the

     bathroom, the law requires that he be treated like any other boy.

              The Court recognizes that some will disagree with this decision, for religious

     and other reasons. I respect their point of view. However, as a judge, my job is to

     determine what the law requires and apply it faithfully to the facts. I have done that

     to the best of my ability.

     I.       Procedural History

              Through his next friend and mother, plaintiff Drew Adams, a minor,4 filed suit

     in June 2017 (when he was a rising junior at Nease) under 42 U.S.C. § 1983, alleging

     that the School District violated his rights under the Equal Protection Clause of the

     Fourteenth Amendment to the United States Constitution, U.S. CONST. amend. XIV,

     § 2, and Title IX, 20 U.S.C. § 1681, by refusing to let him use the boys’ bathroom at

     school. See Doc. 1 (and as amended, Doc. 60). Soon thereafter, he filed a motion

     for preliminary injunction seeking to enjoin the School Board (the School District’s

     governing body) from continuing its policy during the pendency of the case. Although

     the Court denied his motion, it set an expedited schedule so the matter could quickly



          4
         Ordinarily, minors’ names are redacted from court files, but Adams elected to
     waive those privacy protections. See Doc. 1 at 1, n.1; Doc. 60 at 1, n.1.

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     be brought to trial.5 See Docs. 50, 57 (Order and hearing transcript). The Court held

     a three day non-jury trial on December 11, 12, and 13, 2017, hearing testimony from

     ten witnesses6 and admitting numerous exhibits.7 Two witnesses were unable to

     appear live and the Court agreed to accept their videotaped deposition testimony and

     a declaration from one.8 The parties also stipulated to certain facts that are deemed

     admitted.9    A month after the trial (and while school was out of session), the

        5
        Along the way, plaintiff dismissed two school officials he had sued in their official
     capacities, leaving the School Board of St. Johns County, Florida, as the only
     defendant. See Docs. 45, 49, 60.
        6
          One of those witnesses was Frank D. Upchurch, III, the long-time School Board
     Attorney who advised the School Board on its Best Practices Guidelines (discussed
     below) and who is well familiar with School Board policies and the facts described
     herein. References to testimony by “the School Board Attorney” are references to Mr.
     Upchurch’s testimony and should not be confused with statements or argument by the
     School Board’s outside counsel who have represented it throughout this litigation and
     at trial.
       7
         The minutes of the bench trial are of record (Docs. 148, 149, and 150), as are the
     parties’ exhibits (Docs. 151 & 152), and Court exhibits (Doc. 166). Additional exhibits
     containing sensitive medical or personal identifying information were filed under seal
     (Docs. 167, 168, 169, 170, 171). References to exhibits admitted at trial are denoted
     herein as Pl. Ex. __ (for plaintiff’s exhibit), Def. Ex. __ (for defendant’s exhibit), or Ct.
     Ex. __ (for Court exhibits). The public record includes redacted versions of the trial
     transcripts (Docs. 160-1, 161, 162) which the Court cites throughout this opinion. The
     unredacted transcripts are under seal at Docs. 143, 144, 145. The Court has had no
     need to cite to the unredacted transcripts in this decision.
        8
         See Doc. 166, Ct. Ex. 1, 2, 3, 4, 5. In accepting the video depositions, the Court
     agreed to rule on the numerous objections contained therein. See Doc. 160-1 at Tr.
     147. To the extent the Court relies on testimony to which an objection was lodged,
     the objection is overruled.
        9
            See Doc. 116 at § I (p. 22).

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     undersigned toured Nease High School with the school principal and counsel for both

     sides, visiting every restroom on campus. Thereafter, the parties submitted proposed

     findings of fact and conclusions of law and supplemental briefs addressing the School

     Board’s bathroom policy. See Docs. 172, 173-1,10 174, 175. The Court heard closing

     arguments on February 16, 2018. Doc. 184. While the Court has adopted portions

     of each party’s submission, the Court’s findings of fact and conclusions of law are its

     own. Several pending motions were carried with the case, and those rulings are

     incorporated herein.

     II.        Findings of Fact11

                A.    Defining Transgender/Gender Identity/Sex Assigned at Birth

                As explained by Dr. Diane Ehrensaft, a developmental and clinical psychologist

     who studies and specializes in treating transgender children and adolescents, there

     are a number of components that determine a person’s gender: external genitalia,

     internal sex organs, chromosomal sex, gonadal sex, fetal hormonal sex, hypothalamic

     sex, pubertal hormonal sex, neurological sex, and gender identity and role. Doc. 166,


           10
            An unredacted version of defendant’s brief is in the record at Doc. 180.
           11
           Pursuant to Federal Rule of Civil Procedure 52(a)(1), the Court makes these
     findings upon evaluation of the evidence, including the stipulations in the parties’ joint
     pretrial statement and the testimony and exhibits admitted at trial. Where the
     evidence to support a relevant finding was in dispute, the Court has weighed the
     evidence on both sides to determine what facts are “more likely true than not.”
     Pattern Jury Instructions, Civil Cases, Eleventh Circuit (2013 revision, last revised
     Jan. 2018) 1.1 Gen. Prelim. Instr.

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     Ct. Ex. 3 at ¶ 20.12 Among these markers, external genitalia, the most physically

     obvious one, has historically been used to determine gender for purposes of recording

     a birth as male or female. Id. at ¶ 19. In most people, all the markers, including

     external genitalia, lead to a singular conclusion that an individual is either a male or

     a female. Doc. 166, Ct. Ex. 3 at ¶ 19. Sometimes, though, they are not congruent,

     with some indicators suggesting the individual is female, and others male.13 Id. at ¶

     20. In this situation, neurological sex and related gender identity are the most

     important and determinative factors. Id.




       12
         Defendant filed a Daubert motion to exclude certain testimony of Deanna Adkins,
     M.D. and Diane Ehrensaft, Ph.D. Doc. 129. To the extent the motion seeks to
     exclude portions of their testimony regarding matters of school policy creation and
     implementation, or links between the school bathroom policy and Adams’ purported
     emotional distress and damages, the motion is moot because the Court has not relied
     on that testimony. To the extent the motion seeks to exclude portions of their
     testimony related to understanding the nature of gender, the protocols for addressing
     gender transitioning, and the treatment of gender dysphoria, the motion is denied, the
     Court finding they are qualified to testify on those matters (and others not challenged
     by this motion), the methodologies upon which they rely for these limited matters are
     sufficiently reliable, and their testimony assists the Court in understanding the
     evidence.
            13
           Because the “physical aspects of maleness and femaleness” may not be in
     alignment (for example, “a person with XY chromosomes [could also] have female-
     appearing genitalia), the Endocrine Society guidelines disfavor the term “biological
     sex.” Doc. 151, Pl. Ex. 30 at 7.

                                                6
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             The Medical Amici14 explain that “‘[g]ender identity’ refers to a person’s internal

     sense of being male, female, or another gender.”             Doc. 119, Ex. A at 6.       A

     transgender individual is someone who “‘consistently, persistently, and insistently’

     identifies as a gender different than the sex they were assigned at birth.” Id. at 7. A

     2016 publication estimated that 1.4 million transgender adults are living in the United

     States, 0.6 percent of the adult population. Id. at 4. “Gender identity is distinct from

     and does not predict sexual orientation; transgender people, like cisgender [non-

     transgender] people, may identify as heterosexual, gay, lesbian, bisexual, or asexual.”

     Id. at 4-5.

             “[M]any transgender individuals are diagnosed with gender dysphoria, a

     condition that is characterized by debilitating distress and anxiety resulting from the

     incongruence between an individual’s gender identity and birth-assigned sex.” Id. at

     7. Gender dysphoria is recognized by the Diagnostic and Statistical Manual of Mental



        14
           Upon review, and over defendant’s objection (Doc. 118), the motion for leave to
     file an amicus brief by the American Academy of Nursing, the American Academy of
     Pediatrics, the American Association of Child & Adolescent Psychiatry, the American
     College of Physicians, the American Medical Association, the American Medical
     Women’s Association, the Association of Medical School Pediatric Department
     Chairs, the American Nurses Association, the GLMA-Health Professionals Advancing
     LGBT Equality, the Endocrine Society and the Pediatric Endocrine Society,
     (hereinafter, “the Medical Amici”) (Doc. 119), is granted to the extent that the Court
     will rely on its brief (Doc. 119, Ex. A) for helpful explanations of biological and medical
     terminology. Additionally, the position of these medical associations as to the
     appropriate standard of care for gender dysphoria is useful to understanding that
     diagnosis. Defendant’s motion to strike their brief (Doc. 118) is denied.

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     Disorders.   Id. at 8.   According to the Medical Amici, the World Professional

     Association for Transgender Health (“WPATH”) has established the accepted

     standard of care for transgender persons suffering from gender dysphoria, and it

     “includes assessment, counseling, and, as appropriate, social transition, puberty-

     blocking drug treatment, hormone therapy, and surgical interventions to bring the

     body into alignment with one’s gender identity.” Id. at 10-11.

            Social transition “typically includes publicly identifying oneself as that gender;

     adopting a new name; using different pronouns; grooming and dressing in a manner

     typically associated with one’s gender identity” (Id. at 11); changing sports teams to

     be consistent with one’s gender identity (Doc. 166, Ct. Ex. 2 at Tr. 23); “and using

     restrooms and other single-sex facilities consistent with that identity.” Doc. 119, Ex.

     A at 11. Transgender students typically seek privacy and discreteness in restroom

     use and try to avoid exposing any parts of their genitalia that would reveal sex

     characteristics inconsistent with their gender identity. Doc. 166, Ct. Ex. 3 at ¶ 49.

     The Pediatric Endocrine Society states that not allowing students to use the restroom

     matching their gender identity promotes further discrimination and segregation of a

     group that already faces discrimination and safety concerns.15 Doc. 151, Pl. Ex. 47.


       15
         Other evidence further supports the contention that there is a documented history
     of discrimination against transgender individuals. See, e.g., Doc. 114 (Plaintiff’s
     request for Judicial Notice as to governmental actions, policies and reports
     documenting discrimination against transgender people) (the objection to this filing is
     overruled); Doc. 151, Pl. Ex. 66 at iv, v, and 4 (Broward County Public Schools

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           The Endocrine Society Clinical Practice Guideline considers the standard of

     care for some adults and adolescents with gender dysphoria or who seek gender

     affirmance to include hormone treatment which, for a transgender male, will alter the

     appearance of the genitals, suppress menstruation, and produce secondary sex

     characteristics such as increased muscle mass, increased body hair on the face,

     chest, and abdomen, and a deepening of the voice. Doc. 151, Pl. Ex. 30 at 18-19.

     Surgical interventions (including a double mastectomy and chest reconstruction for

     transgender men (sometimes referred to as “top surgery”) and/or genital surgery) may

     be appropriate and medically necessary for some patients, but may be delayed until

     the age of legal majority because, unlike the other treatments, they are largely

     irreversible. Id. at 26; Doc. 119, Ex. A at 13. Before the medical profession gained

     its current understanding of gender identity, some practices involved attempts to force

     transgender people to live in accordance with the sex assigned to them at birth, but


     LGBTQ Critical Support Guide (citing Florida school survey data showing most
     LGBTQ students have been either verbally or physically harassed, discussing
     “pervasive safety concerns” of LGBTQ students, and stating that “[t]ransgender
     students are disproportionately targeted for harassment and violence” resulting in
     more than 50% of transgender students reporting a suicide attempt)). The School
     Board Attorney also testified that in reviewing the literature compiled by the task force
     that studied the school policies and in conducting other research, transgender
     students “are a vulnerable student population” who “fear for their safety,” and “are
     more prone to be victims of violence, bullying [and] physical [harm] than other
     students.” Doc. 162 at Tr. 120; see also Whitaker v. Kenosha Unified Sch. Dist. No.
     1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017) (citing “alarming” statistics which
     document the “discrimination, harassment, and violence” faced by transgender
     individuals because of their gender identity).

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     those attempts failed and caused significant harm. Doc. 119, Ex. A at 5.

           B.     Drew Adams

           When Adams was born in 2000, he had the external genitalia of a female, and

     indeed, his parents had been told they were expecting a girl. Doc. 160-1 at Tr. 84;

     Doc. 161 at Tr. 31. His Florida birth certificate recorded his sex as “female.” Doc.

     160-1 at Tr. 83; Doc. 170, Def. Ex. 145 (under seal). From a young age, Adams’

     parents noticed that Adams rejected what they describe as stereotypically feminine

     behaviors and attributes, such as playing with dolls, favoring the color pink, or wearing

     dresses; instead, Adams preferred playing with toy race cars and dinosaurs, and

     going to the science center.       Doc. 160-1 at Tr. 217-18; Doc. 161 at Tr. 87.

     Nonetheless, Adams was a happy and smart child. Doc. 160-1 at Tr. 81, 189. In

     middle school, however, as Adams started going through puberty, he “hated” the

     developing feminine parts of his body. Id. at Tr. 89-91. Adams began to show signs

     of depression and anxiety and in early 2015, Adams’ parents brought him to a mental

     health therapist as well as a psychiatrist. Id. at Tr. 89-91, 215-16.

           At the end of eighth grade, a few months after he began his therapy, Adams

     realized that he was transgender and came out to his parents, who already suspected

     as much. Doc. 160-1 at Tr. 219; Doc. 161 at Tr. 87. Adams and his parents met with

     Adams’ therapist seeking guidance. Doc. 160-1 at Tr. 220-21. Adams’ therapist

     confirmed that Adams was transgender, and Adams began implementing the social


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     transition to present as a male, which included cutting Adams’ hair short, wearing a

     chest binder (a garment which flattens the breast tissue) and masculine clothing,

     asking people to switch to male pronouns when referring to him, and using the men’s

     restrooms when in public.16 Id. at Tr. 95, 101. When Adams uses the men’s

     restroom, he walks in and enters a stall, closes and locks the door, relieves himself,

     exits the stall, washes his hands, and leaves. Id. at Tr. 202.

              Adams’ psychologist determined he met the criteria for gender dysphoria, and

     in May 2016, she supported his request to begin treatment with an endocrinologist for

     his medical transition, which included taking birth control to halt menstruation and

     testosterone to make his body more masculine. Id. at Tr. 98-100; Doc. 151, Pl. Ex.

     134. In May 2017, Adams had a double mastectomy.17 Doc. 160-1 at Tr. 105.

              Adams has also worked on the legal transition. The Florida Department of

     Highway Safety and Motor Vehicles follows the recommendations of the WPATH in

     establishing procedures for changing gender on Florida driver’s licenses, requiring a

     statement from a medical provider that the applicant is undergoing clinical treatment

     for gender transition. See Doc. 147, Ex. A (Florida Driver License Operations

     Manual) at LR07.2b. Within certain guidelines, the Florida Department of Health,


        16
         Adams’ given first name (Drew) is commonly used for boys and for girls so he did
     not change his first name.
         17
          Adams is not yet old enough for any additional surgeries that would medically
     further his transition. Doc. 160-1 at Tr. 106; Doc. 166, Ct. Ex. 2 at Tr. 29.

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     Office of Vital Statistics accepts supporting authenticated medical documentation to

     amend the sex designation on birth certificates.18 See Fla. Admin. Code Ann. R. 64V-

     1.003(2) (2004). Adams followed these procedures, and his Florida driver’s license

     and Florida birth certificate both now record his gender as “Male” or “M.” See Doc.

     151, Pl. Ex. 3; Doc. 169, Pl. Ex. 4 (under seal).

             According to Adams’ mother, coming out brought on “an absolutely remarkable”

     change in Adams. Doc. 160-1 at Tr. 220. “He went from this quiet, withdrawn,

     depressed kid to this very outgoing, positive, bright, confident kid. It was a complete

     180.” Id. As Adams testified, with every step of the transition, he feels even better:

     “I don’t hate myself anymore. And I don’t hate the person I am. I don’t hate my body

     anymore. There are some parts I don’t like, of course, but I don’t look at myself and

     think all those negative thoughts anymore.” Id. at Tr. 106.      Adams only sees his

     therapist now on an as-needed basis, less often than he previously did, and he is not

     taking any medications for anxiety or depression. Id. at Tr. 131, 188.

             Adams is excelling academically in high school, is enrolled in the International

     Baccalaureate program, and is a member of the National Honor Society. Id. at Tr.

     214-15; Doc. 162 at Tr. 129-130. He spends his summers volunteering at area

     hospitals and is involved in a number of organizations that serve the LGBT


        18
           Plaintiff’s request for Judicial Notice of these Florida law provisions (Doc. 147)
     is granted without objection, though defendant contends that the state failed to follow
     its own procedures when changing Adams’ birth certificate. See Doc. 156 at 1, n.1.

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     community.19 Doc. 160-1 at Tr. 124-25. Adams plans to attend college upon

     graduation and aspires to become a doctor. Id. at Tr. 81.

            C.    The St. Johns County School District and Its Transgender
                  and Bathroom Policies

            The St. Johns County School Board is responsible for providing “proper

     attention to [the] health, safety, and other matters relating to the welfare of students.”

     Fla. Stat. § 1001.42(8)(a).      The St. Johns County School District educates

     approximately 40,000 students in 36 different schools, serving grades K-12. Doc. 161

     at Tr. 254-55. An enrollment packet is assembled for each new student. Id. at Tr.

     229. Part of that packet is the School District’s student information/entry form, which

     includes a box to check whether the student’s gender is “male” or “female,” as does

     the Home Language Survey form. Doc. 170, Def. Ex. 142 & 143 (under seal). The

     paperwork includes a state health form, which has a space to indicate a student’s

     “sex.” Doc. 170, Def. Ex. 144 (under seal). The enrollment packet also includes a

     copy of a student’s birth certificate, which, for Florida, lists the student’s “sex.” Doc.



       19
          “LGBT” is an abbreviation for lesbian, gay, bisexual, transgender. See, e.g., Doc.
     152, Def. Ex. 203 at 1 (U.S. Dep’t of Health and Human Services website). “LGBTQ”
     is an abbreviation for lesbian, gay, bisexual, transgender and questioning (and/or
     queer). See, e.g., Doc. 115, Ex. 3 at 2 (American Academy of Pediatrics Policy
     Statement); Doc. 152, Def. Ex. 85 at 56 (District of Columbia Public Schools Policy
     Guidance). To the limited extent that the Court has relied on the materials included
     in plaintiff’s Request for Judicial Notice of Clinical Guidelines, Resolutions, Standards
     of Care, and Statements by Major Medical and Mental Health Organizations, that
     request (Doc. 115) is granted.

                                                13
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     170, Def. Ex. 145 (under seal). The School District uses these documents to record

     a student’s gender in its files. Doc. 161 at Tr. 205. If a student later presents a

     document, such as a birth certificate or driver’s license, which lists a different gender,

     the original enrollment documents control. The School District will not change the

     official school records. Doc. 162 at Tr. 12-13. But, if a transgender student initially

     enrolls with documents listing the gender that matches the student’s gender identity,

     the School District will accept the student as being of that gender. Id. at Tr. 35. The

     School Board is aware of approximately sixteen transgender students in its schools,

     some of whom would like to use restrooms which match their gender identity. Id. at

     Tr. 106-07. The principal at Nease is aware of five transgender students at Nease,

     including Adams. Id. at Tr. 136.

           According to the School Board Attorney, and as affirmed by the School Board

     Chair, for as long as anyone can remember, the unwritten School District bathroom

     policy was that boys will use the boys’ restrooms at school and girls will use the girls’

     restrooms at school, using those terms as traditionally defined based on biological

     traits. Id. at Tr. 45-46; Doc. 184 at Tr. 11-12. As a long-time school official explained,

     students of one “biological sex” have never been permitted to use the restroom of the

     opposite “biological sex.” Doc. 161 at Tr. 149-50. The school bathroom policy has

     been enforced through the student code of conduct, and a student could be subject

     to discipline for failing to abide by the bathroom policy. Id. at Tr. 227-28; Doc. 162 at


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     Tr. 17-18; Doc. 152, Def. Ex. 65 (St. Johns County School District student codes of

     conduct, 2015-2018).20

               Beginning in 2012, the (now retired) Director of Student Services worked with

     LGBTQ students, attended and sent staff to LGBTQ conferences, and researched

     school policies in other school districts in Florida and elsewhere to educate herself

     and the School District about emerging LGBTQ issues. Doc. 161 at Tr. 146-47. She

     formed a task force which consulted with district administrators, principals, attorneys,

     guidance counselors, mental health professionals, parents, students, members of the

     public, and LGBTQ groups in St. Johns County and elsewhere. Id. at Tr. 150-52, 158-

     59, 161-62, 174-80. The result was a set of Best Practices Guidelines adopted by the

     School Superintendent’s Executive Cabinet and introduced to school administrators

     in September 2015. Id. at Tr. 242-45.

               The Best Practices Guidelines were formed with the community’s values in

     mind (described by the School Board Attorney as trending conservative), and they

     provide guidance to faculty and staff to address numerous issues related to LGBTQ

     students. Doc. 162 at Tr. 32-33, 86. Under the Best Practices Guidelines, upon

     request by a student or parent, students should be addressed with the name and

     gender pronouns corresponding with the student’s consistently asserted gender


          20
          Historically, the School District accommodated the occasional student who
     needed additional privacy because of a physical disability or for other reasons by
     making a gender-neutral single-stall bathroom available. Doc. 161 at Tr. 149.

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     identity; school records will be updated upon receipt of a court order to reflect a

     transgender student’s name and gender; unofficial school records will use a

     transgender student’s chosen name even without a court order; transgender students

     are allowed to dress in accordance with their gender identity; students are permitted

     to publicly express their gender identity; and the school will not unnecessarily disclose

     a student’s transgender status to others. Doc. 152, Def. Ex. 33; Doc. 151, Pl. Ex. 138

     at Request for Admission # 51.21 The Best Practices Guidelines also provide that

     “[t]ransgender students will be given access to a gender-neutral restroom and will not

     be required to use the restroom corresponding to their biological sex.”22 Doc. 152,



        21
          Defendant’s motion to withdraw and amend two responses to plaintiff’s request
     for admissions (Doc. 103) is granted. The Court will deem defendant’s responses to
     request # 45 and request # 54 to be amended as stated in the motion.
        22
          The Best Practices Guidelines also provide that “[t]ransgender students will not
     be forced to use the locker room corresponding to their biological sex” and will instead
     be provided with other accommodations. Doc. 152, Def. Ex. 33 at 2.
            As to students participating in interscholastic sports, the Florida High School
     Athletic Association (“FHSAA”) (of which Nease is a member) does not have any
     policies regarding restroom or locker room access, but it does provide that students
     shall be given the opportunity to participate in school sports in a manner consistent
     with their gender identity, regardless of the gender listed on a student’s birth
     certificate or school records. Doc. 151, Pl. Ex. 68 (FHSAA Administrative Policies,
     2017-18 edition) at § 4.3; Doc. 152, Def. Ex. 65 (St. Johns County School District
     Student Code of Conduct 2017-2018) at § 8 (referencing student athletes’ mandatory
     compliance with FHSAA rules and by-laws). Schools which fail to abide by the
     FHSAA Policies are subject to monetary penalties. Doc. 151, Pl. Ex. 68 at 1. The
     Best Practices Guidelines acknowledge the FHSAA policy. Doc. 152, Def. Ex. 33 at
     2.


                                                16
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     Def. Ex. 33 at 1. The document further states that “[t]here is no specific federal or

     Florida state law that requires schools to allow a transgender student access to the

     restroom corresponding to their consistently asserted transgender identity.” Id.

             In formulating their recommendations for the Best Practices Guidelines, the

     LBGTQ task force was aware that some other school districts, including in Florida,

     have adopted policies permitting transgender students to use the restrooms

     consistent with their gender identity. Doc. 161 at Tr. 215-16. However, the task force

     did not recommend that alternative for the St. Johns County School District due at

     least in part to concerns about how to handle gender-fluid students (those whose

     gender changes between male and female) or those pretending to be gender-fluid,

     although the task force had not heard of any such incidents.23 Id. at Tr. 215-17.


        23
          There is not a scientific or medical definition of “gender-fluid” in the record. The
     Broward County Public Schools support guide for LGBTQ issues references gender
     fluidity within its definition of “genderqueer,” saying individuals who are genderqueer
     “typically reject notions of static categories of gender and embrace a fluidity of gender
     identity and often, though not always, sexual orientation.” Doc. 151, Pl. Ex. 66 at 10.
     The District of Columbia Public Schools defines gender fluidity as conveying “a wider,
     more flexible range of gender expression, with interests and behaviors that may
     change, even from day to day. Gender fluid children do not feel confined by
     restrictive boundaries of stereotypical expectations of girls or boys . . . . [A] child may
     feel they are a girl some days and a boy on others, or a combination, or possibly feel
     that neither term describes them accurately.” Doc. 151, Pl. Ex. 116, Pt. 2 at 25. In
     Doe v. Boyertown Area School District (a transgender school bathroom case
     discussed further below), the court defined “gender fluid” as a person who “identifies
     as male in some situations and female in other situations.” 276 F. Supp. 3d 324, 344
     (E.D. Pa. 2017), aff’d, 890 F.3d 1124 (3d Cir. 2018) (affirming), 893 F.3d 179
     (opinion). That court also cited an expert (Ohio psychiatrist Dr. Scott Leibowitz) who
     explained that “‘gender fluid’ is not a clinical term, but it describes kind of feeling a

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           According to the School Board Attorney, the gender-neutral bathroom option

     was added to the Guidelines and is now part of the school policy as a reasonable

     alternative for transgender students so they would not be required to use the

     bathroom of their sex assigned at birth. Doc. 162 at Tr. 61-62. The School Board’s

     position is that this approach reconciles the interests of transgender students without

     violating the School Board policy of having separate bathrooms for boys and girls. Id.

     at Tr. 62. The retired Director of Student Services also explained that the Best

     Practices Guidelines accommodate gender-fluid students while protecting against the

     possibility that students might claim to be gender-fluid to gain access to the bathroom

     of the opposite sex. Doc. 161 at Tr. 216.

           Several months after the School District implemented the Best Practices

     Guidelines, the United States Departments of Education and Justice issued guidance

     (“the 2016 Guidance”) that the term “sex” under Title IX included gender identity.

     Doc. 152, Def. Ex. 84. The 2016 Guidance directed that schools that provide sex-

     segregated restrooms, locker rooms and shower facilities must allow transgender

     students to use those facilities consistent with their gender identity. Id. at 3. In

     response, the School District issued a statement through its Superintendent that it


     certain gender at a certain moment in time, and . . . then switching, perhaps, back.”
     Id. at 365.
         Adams is not gender-fluid. Other than discussing defendant’s contentions about
     gender-fluidity, the Court’s opinion does not address how schools should handle this
     complicated issue.

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     disagreed with that guidance and intended to continue following its long-standing

     bathroom policy as supplemented by the Best Practices Guidelines, which it believed

     to be lawful and provided a reasonable accommodation. Doc. 162 at Tr. 75-78. In

     February 2017, the Departments of Education and Justice withdrew the 2016

     Guidance, explaining that it had not undergone any formal public process and had

     been issued without extensive legal analysis or explanation as to how it was

     consistent with Title IX. Doc. 152, Def. Ex. 237.

            Incorporating both the long-standing unwritten School Board bathroom policy

     and the Best Practices Guidelines, the current policy in St. Johns County public

     schools for grades four and up is that “biological boys” may only use boys’ restrooms

     or gender-neutral single-stall bathrooms and “biological girls” may only use girls’

     restrooms or gender-neutral single-stall bathrooms, with the terms “biological boys”

     and “biological girls” being defined by the student’s sex assigned at birth, as reflected

     on the student’s enrollment documents.24 Doc. 162 at Tr. 45-46, 62, 71; Doc. 161 at


       24
          Although the Best Practices Guidelines supplement the earlier policy by providing
     a gender-neutral single-stall bathroom option, the policy that only “biological boys”
     may use the boys’ restroom and that only “biological girls” may use the girls’ restroom
     is not written anywhere. The Court had questions about whether it had been adopted
     as the official policy of the School Board, such that the challenge to it created a ripe
     controversy requiring decision by a federal court. At the Court’s direction, the parties
     filed supplemental briefs on the issue after trial and the School Board Chair affirmed
     that the School Board policy prohibits Adams from using the boys’ bathrooms at
     Nease High School. See Docs. 159, 172, 174, 178, 184 at Tr. 6-13. The Court is
     satisfied that this matter presents a real and substantial controversy that is ripe for
     juridical review. See Nat’l Adv. Co. v. City of Miami, 402 F.3d 1335, 1338-39 (11th

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     Tr. 248. The School Board Attorney explained that the bathroom policy comports with

     the Board’s overall responsibility for student welfare, which, in the case of bathrooms,

     principally involves concerns for privacy and safety.25 Doc. 162 at Tr. 110-11.

             With regard to privacy, the School Board seeks to preserve the privacy of

     individuals using the restroom facilities, but admits that the bathroom stall doors

     provide privacy for anyone inside a stall. Id. at Tr. 114. The retired Director of

     Student Services who led the LGBTQ task force explained the privacy concerns:

             [W]hen a girl goes into a girls’ restroom, she feels that she has the
             privacy to change clothes in there, to go to the bathroom, to refresh her
             makeup. They talk to other girls. It’s kind of like a guy on the golf
             course; the women talk in the restrooms, you know. And to have
             someone else in there that may or may not make them feel
             uncomfortable, I think that’s an issue we have to look at. It’s not just for
             the transgender child, but it’s for the other.

     Doc. 161 at Tr. 213. The School District’s Deputy Superintendent for Operations

     raised similar points, saying a student may want privacy to undress or clean up a stain

     on her clothing. Id. at Tr. 248. The School Board Attorney also explained that

     allowing a transgender student to use a restroom that conformed to his or her gender

     identity could create opportunities for students “with untoward intentions to do things

     they ought not to do,” although the School Board has never received any complaints


     Cir. 2005) (explaining the constitutional and prudential concerns that must be satisfied
     to invoke the federal court’s limited jurisdiction).
        25
          The School Board did not argue that cost was a factor in arriving at a bathroom
     policy. See Doc. 161 at Tr. 67-68.

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     of untoward behavior involving a transgender student. Doc. 162 at Tr. 112-13.

           As for the safety aspect, the School Board seeks to assure that members of the

     opposite sex are not in an unsupervised bathroom together, citing as an example the

     risks of danger posed to a female freshman student who might find herself alone in

     the restroom with an 18-year old male student. Id. at Tr. 69, 111, 115. A related

     concern raised by the retired Director of Student Services was that under a relaxed

     policy, a student–a football player for example–could pose as being gender-fluid for

     the purpose of gaining access to the girls’ restroom, but the school would have no

     way to know whether his belief that he is gender-fluid is sincere. Doc. 161 at Tr. 213.

     However, the task force’s research did not reveal any actual situations where a

     problem like that occurred. Id. at Tr. 213.

           The retired Director of Student Services also expressed concern for the safety

     of transgender students, worrying that they might be bullied or assaulted or ridiculed

     by other students if they are in the bathroom that matches their gender identity. Id.

     at Tr. 217. While the School Board’s code of conduct would address any violations,

     by keeping boys and girls separate in the unsupervised restrooms, the School Board

     seeks to minimize the opportunity for any such violation to occur. Doc. 162 at Tr.

     115. However, the School Board is not aware of any bullying violations involving a

     transgender student in any St. Johns County School District restroom, id. at Tr. 115,

     nor did the task force hear of any such incidents in other school districts involving


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     transgender students using the restroom that aligned with their gender identity. Doc.

     161 at Tr. 219-20. Moreover, the retired Director of Student Services acknowledged

     that for a transgender student who has made the social transition and whose

     appearance is consistent with his or her gender identity (for example, a transgender

     girl whose hair is long, whose breasts are enhanced, who is wearing lipstick), there

     may be safety, security, and privacy concerns if that student used the restroom that

     is consistent with the sex the student was assigned at birth; thus, she thought it would

     be preferable if such a student used a gender-neutral single-stall bathroom. Id. at Tr.

     207-09; 217-18.

           Additionally, if a transgender student enrolled in the St. Johns County School

     District having already changed their legal documents to reflect their gender identity,

     the student’s school records would reflect that gender as well. Doc. 162 at Tr. 35.

     The school district has no process to determine if a student is transgender. Doc. 161

     at Tr. 235. As the School Board Attorney said, “[t]he district does not play bathroom

     cop,” and it accepts the information on the enrollment documents at face value. Doc.

     162 at Tr. 53. Thus, unless there was a complaint, a transgender student could use

     the restroom matching his or her gender identity until he or she graduated and the

     school would be none the wiser. Id. at Tr. 35-36, 53. The School Board Attorney

     testified that he thought that scenario would be a rare occurrence and, if it became a

     problem, the School Board could re-examine the practice of using self-identifying


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     enrollment documents to determine gender.26 Id. at Tr. 54-55. However, he agreed

     that at this point, the School District would have no occasion to question a student

     who used a restroom consistent with the gender recorded on the student’s enrollment

     documents. Id. at Tr. 89.

             The Nease campus is spread over several buildings. There are four sets of

     multi-stall, sex-segregated bathrooms available during class time to the school’s

     2,450 students. Id. at Tr. 131-32. An additional set is available in the locker rooms

     for use by students while taking physical education classes.            Id. at Tr. 131.

     Discounting the locker room, there are a total of ten bathroom stalls available in the

     boys’ restrooms on the Nease campus. Id. at Tr. 133. All of the boys’ restrooms have

     a set of urinals and stalls with doors. The urinals in the boys’ restrooms are not

     divided by partitions, although a school official said perhaps they could be. Id. at Tr.

     32. The campus additionally has eleven gender-neutral single-stall bathrooms in

     various locations which are open to any student or staff member. Id. at Tr. 134. A

     multi-stall boys’ restroom and a multi-stall girls’ restroom are accessible to students

     in the cafeteria area, but there is not a gender-neutral bathroom in that area and

     during certain lunch periods, students who wish to use a gender-neutral bathroom



        26
        The School Board Attorney did not testify as to what a revised practice might be.
     The retired Director of Student Services testified it would be “totally inappropriate” to
     conduct physical inspections of students to determine what genitalia they had, and the
     school would “never” do that. Doc. 161 at Tr. 204.

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     must ask permission to leave the area. Doc. 160-1 at Tr. 279-80.

           The undersigned visited Nease and toured all of the bathrooms on campus.

     While they were clean, most of the multi-stall single-sex restroom facilities were dated

     and there were not nearly enough bathrooms for boys or girls considering the number

     of students at Nease. The school principal said there are often lines to use those

     bathrooms. The gender-neutral bathrooms were generally more modern than the

     multi-stall single-sex bathrooms.    Some of Nease’s classrooms are in portable

     buildings. There are no gender-neutral bathrooms or faculty bathrooms near those

     classrooms, and the multi-stall single-sex bathrooms there have very few stalls. The

     principal said that faculty assigned to teach in the portable classrooms sometimes use

     the multi-stall single-sex bathrooms. The undersigned observed that the boys’ locker

     room is an open space with no room for privacy while changing. There is a bathroom

     available in the coach’s office, but the principal said it is not available to use for

     changing. The boys’ locker room shower is an open space with several shower

     heads and no curtains or dividers. The showering space is visible to other areas of

     the locker room.

           D.     Adams’ Experience with the Bathroom Policy at Nease High School

           School enrollment documents show that Adams enrolled in the St. Johns

     County School District as a female entering the fourth grade at PV/PV Rawlings

     Elementary in 2010. See Doc. 170, Def. Ex. 142, 143, 144 (under seal). During the


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     summer of 2015, before Adams began high school at Nease, Adams’ mother

     informed the student services department that Adams was transitioning and would be

     attending high school as a boy. Doc. 160-1 at Tr. 251-52. When Adams began

     school in August, he presented as a boy and used the boys’ restroom when needed

     without incident. Id. at Tr. 253. One day in September approximately six weeks after

     school started, Adams was called out from his classroom and told by his guidance

     counselor that someone had complained about him using the boys’ restroom and that,

     going forward, he could use the gender-neutral bathroom in the school office. Id. at

     Tr. 114-15, 253. Adams was also advised that he could use the girls’ restroom,

     something he found insulting. Id. at Tr. 117-18. It was not a boy or a boy’s parents

     who had complained. Rather, it was two unidentified female students who reported

     that they had seen Adams entering the boys’ restroom. Doc. 162 at Tr. 16-17.

           To Adams, the school’s refusal to let him use the boys’ restroom meant that the

     school did not see him as a boy, and refused to accept who he was. Doc. 160-1 at

     Tr. 116. As Adams testified, “I was living in every aspect of my life as a boy and now

     they’re taking that away from me.” Id. Adams said he was confused, shocked, and

     angered by the school’s reaction. Id. at Tr. 115-16. The school agreed to provide

     gender-neutral restrooms which Adams has used as necessary. Id. at Tr. 172-73.

     Adams would be subject to disciplinary action if he used the boys’ bathroom. Doc.

     162 at Tr. 17-18. Over the course of Adams’ freshman and sophomore years, Adams’


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     mother met with various school and District personnel, sent them letters and emails,

     and pursued a complaint with the U.S. Department of Education’s Office of Civil

     Rights; by the end of his sophomore year when those efforts had not resulted in any

     change to the school bathroom policy, Adams, through his mother, filed this lawsuit.

     Doc. 160-1 at Tr. 254-60.

               For some of Adams’ classes during his junior year, the gender-neutral

     bathrooms were considerably further away than the boys’ restrooms.27 Id. at Tr. 117,

     119, 122-24, 176-79. Adams monitors his fluid intake to minimize his need to use the

     restroom and he now uses the school bathroom only once or twice a day.28 Id. at Tr.

     118-19, 172. Adams thinks ahead about where his classes are and which bathrooms

     he can access, worrying he will miss valuable class time if a gender-neutral bathroom

     is not nearby.29 Id. at Tr. 118-19. Adams’ has not registered for any physical



              27
            Nease has increased the number of gender-neutral single-stall restrooms
     available for student use since Adams started as a student there. Originally, only one
     was available, in the school office. By the time Adams finished his junior year in the
     spring of 2018, eleven were available. Doc. 160-1 at Tr. 120; Doc. 162 at Tr. 133-34.
         28
          Pediatric endocrinologist Dr. Adkins testified that limiting fluid intake to avoid
     bathroom use increases the risk of urinary tract infections and dehydration (Doc. 166,
     Ct. Ex. 2 at Tr. 32-33), but Adams has never complained to school officials about
     those issues (Doc. 160-1 at Tr. 179), and there is no evidence in the record of him
     having suffered from those problems.
         29
          Having visited the Nease campus and toured the routes Adams took from his
     classes to the nearest gender-neutral bathroom, the Court did not find those distances
     to be so far as to disrupt Adams’ class schedule.

                                               26
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     education classes while at Nease (students enrolled in the International

     Baccalaureate program are not required to take physical education classes), and

     Adams did not testify about the school policy with respect to the locker rooms, which

     are only available to students taking physical education classes. Doc. 171, Def. Ex.

     42 & 43 (under seal); Doc. 162 at Tr. 131.

           Adams testified that he feels alienated and humiliated, and it causes him

     anxiety and depression to walk past the boys’ restroom on his way to a gender-neutral

     bathroom, knowing every other boy is permitted to use it but him. Doc. 160-1 at Tr.

     116-17. Adams thinks it also sends a message to other students who see him use

     a “special bathroom” that he is different, when all he wants is to fit in. Id. at Tr. 205.

           There were no reported instances of privacy breaches during the time Adams

     used the boys’ restroom at Nease. Although no one other than the two female

     students ever complained about Adams’ use of the boys’ bathroom at Nease, the

     parties stipulated that certain parents and students in the School District object to a

     policy or practice that would allow students to use bathrooms in accordance with their

     gender identity as opposed to their sex assigned at birth, because they believe such

     a practice would violate the bodily privacy rights of students and raises privacy, safety

     and welfare concerns. Doc. 116 at § I, ¶ 3 (p. 22). The School District has agreed

     to treat Adams as a boy in all other respects, but its position is that Adams’ enrollment

     documents and official school records identify him as a female, and he has not


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     presented any evidence that he is a “biological male.” Doc. 161 at Tr. 229-36, 253;

     Doc. 162 at Tr. 12-13, 35-36; Doc. 173-1 at ¶¶ 42-43. The School District maintains

     that Adams is welcome to use the gender-neutral bathrooms or the girls’ bathroom.30

     Doc. 161 at Tr. 250-51. But he cannot use the boys’ bathroom.

              E.    Schools With Policies Permitting Transgender Students
                    To Use The Bathroom that Aligns With Their Gender Identity

              The Court heard testimony from three school administrators familiar with other

     schools that have adopted the transgender bathroom policy that Adams is

     advocating.31 Broward County, also in Florida, has a public school policy that permits

     students to use gender-neutral restrooms as well as the restrooms that match their

     gender identity. Doc. 151, Pl. Ex. 66 at 40-41. Unlike St. Johns County, Broward

     County also has a human rights ordinance that prohibits discrimination based on


             30
             That latter position seems disingenuous. Adams presents as a boy and
     continues to exhibit more masculine physical features as his medical treatment
     continues. It would seem that permitting him to use the girls’ restroom would be
     unsettling for all the same reasons the School District does not want any other boy in
     the girls’ restroom.
        31
          A group of school administrators, school districts, and educators from 29 states
     and the District of Columbia sought leave to file an amicus brief in support of Adams’
     position. Doc. 124. The School Board objected that their brief was filed just three
     business days before trial, it deprived counsel of an opportunity to cross-examine their
     positions, and would be cumulative of other evidence. Doc. 136. Two of the school
     administrators who testified are among the members who sought to file the brief. For
     the reasons raised by the School Board, and finding that the testimony of the three
     administrators ameliorates any prejudice to Adams, the Court will deny the amicus’
     motion (Doc. 124) (and finds their counsel’s motion for leave to appear pro hac vice
     (Doc. 125) to therefore be moot).

                                                28
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     gender identity. Id. at 16. Michaelle Valbrun-Pope, the Executive Director of the

     Student Support Initiatives for Broward County Public Schools (the sixth largest

     school district in the nation), testified that she is aware of nine other Florida school

     districts that have implemented some of their policies with regard to transgender

     students.32 Doc. 161 at Tr. 65-66. Valbrun-Pope testified that Broward County

     Schools’ transgender bathroom policy, which has been in effect for about five years,

     has not caused any issues related to safety or privacy. Id. at Tr. 64-65. She testified

     that she has never heard of a transgender student exposing himself or herself in the

     restroom and that doing so would be inconsistent with aligning themselves with their

     gender identity and being accepted as that gender. Id. at Tr. 65.

             Michelle Kefford, a principal at a high school in Broward County who also works

     district-wide answering questions about the district’s LGBTQ policies, has worked with

     about a dozen transgender students over the years, and her high school presently

     has two transgender students out of a population of about 2,600. Id. at 106, 109-110,



        32
          At closing arguments, counsel for the School Board noted a few other counties
     within the Middle District whose school boards he believed have policies similar to St.
     Johns County’s, and remarked that the Volusia County School Board was involved
     in similar litigation. But apparently the Volusia County School Board accepts a birth
     certificate as proof of “sex” and, as the transgender plaintiff in that case has now
     obtained “an amended State of Florida birth certificate identifying his sex as male,” the
     Volusia County School Board now permits him to use the boys’ restrooms and locker
     rooms at his school. See Doe v. Volusia Cnty. Sch. Bd., No. 6:18-cv-102-Orl-37GRK,
     Doc. 57 at ¶ 2 (filed June 19, 2018).


                                                29
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     117. Once a transgender student comes forward to identify herself or himself, an

     adult staff member meets with the student to discuss a variety of issues, including

     whether the student wants to be called a different name, whether the student’s family

     is aware of the situation, whether a referral to any outside resources would be helpful

     to the student or the family, whether the student has disclosed his or her gender

     identity to others, whether the student is engaged in extracurricular activities or sports

     where support may be needed, and what restroom the student wants to use. Id. at

     Tr. 111-12; Doc. 151, Pl. Ex. 66 at 49-51. Broward County Public Schools do not

     require any legal documentation such as a birth certificate to permit students to be

     treated consistent with their gender identity, and students need only identify

     themselves as transgender to have access to the restroom that corresponds to the

     gender identity they assert at school. Doc. 151, Pl. Ex. 66 at 35-36, 40-41.

           Kefford testified that no students or parents have complained about

     transgender students in the bathrooms, although in the training sessions she

     conducts within the school district, she has encountered other adults who do not

     agree with the district’s transgender policies. Doc. 161 at Tr. 106, 118-19. Based on

     her experience in meeting with these adults, Kefford’s opinion is that “people are

     afraid of what they don’t understand . . . [and] a lot of that fear [is because] they

     haven’t experienced it, they don’t know enough about it, and the first thing that comes

     to mind is this person wants to go into this bathroom for some other purpose. That’s


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     not the reality. The reality is this child . . . just want[s] to be accepted” as a member

     of the gender with which they identify. Id. at Tr. 120-21.

           Kefford also testified that there has never been a problem involving a

     transgender student in the bathroom, and any problem that did arise would be dealt

     with in accordance with the school’s disciplinary guidelines. Id. at Tr. 106-07. Kefford

     said that any child who was uncomfortable with the policy or wanted additional privacy

     beyond that already afforded by a bathroom stall would have the option of using a

     gender-neutral single-stall bathroom. Id. at Tr. 120. She also testified that some

     transgender students who are in the early stages of their transition prefer to use a

     gender-neutral bathroom instead of the bathroom that matches their gender identity.

     Id. at Tr. 111-12. Kefford has never heard of a transgender student (or adult) going

     into a restroom for the purpose of engaging in any inappropriate predatory behavior

     and has never heard of a cisgender student pretending to be transgender to gain

     access to a bathroom opposite of their true gender identity. Id. at Tr. 107, 119.

           Dr. Thomas Aberli, a principal with the Jefferson County Public Schools in

     Kentucky testified about his experience at a high school during the time that it

     adopted a policy to permit transgender students to use bathrooms and locker rooms

     that aligned with their gender identity. Doc. 160-1 at Tr. 22-23. That high school

     does not have any gender-neutral bathrooms but does have one single-stall girls’

     bathroom and one single-stall boys’ bathroom in the front office. Id. at Tr. 25. Aberli


                                                31
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     testified that the school had no problems implementing the policy, which was

     occasioned by a student who transitioned during the school year. Id. at Tr. 26-27.

     Aberli explained that this was his first encounter with a transgender student and he

     had a steep learning curve but ultimately concluded that “being transgender was a

     real thing that the school would have to respond to.” Id. at Tr. 31. Although many

     parents initially had concerns about safety and privacy, the school has disciplinary

     procedures to address any violations, and none have occurred. Id. at Tr. 45-54.

     III.        Conclusions of Law

                 To prevail, Adams must prove by a preponderance of the evidence that the

     School Board violated his rights under the Equal Protection Clause and/or Title IX.33

     If Adams does so, it is also his burden to prove (again by a preponderance of the

     evidence) how this violation caused him damage.34 See Pattern Jury Instructions,


            33
        Adams filed suit under 42 U.S.C. § 1983. The School Board is a “person” acting
     under color of law within the meaning of 42 U.S.C. § 1983. Doc. 151, Pl. Ex. 138 at
     Request for Admission 1.
            34
           The evidence at trial was that Adams has no occasion to use the locker room at
     Nease (the use of which is limited to students taking physical education classes,
     which he does not) and none of his testimony related to those facilities or any desire
     to access them. Likewise, when discussing the School Board’s concerns, the
     testimony was about the multi-stall single-sex restrooms on campus that students use
     during class time, on the short breaks between classes, or during lunch. While the
     Court viewed the locker room and showers as part of its tour of Nease, Adams did not
     attempt to show that the School Board policy as it relates to locker rooms and shower
     facilities has caused him any harm. Thus, the Court’s analysis of Adams’ claims does
     not include consideration of his use of the boys’ locker room or shower facilities and
     the Court’s rulings do not apply to those spaces. Outside of case citations, references

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     Civil Cases, Eleventh Circuit (2013 revision, last revised Jan. 2018) 1.1 Gen. Prelim.

     Instr.; Texas Dep’t of Comm. Affairs v. Burdine, 450 U.S. 248, 253 (1981) (explaining

     that even in burden shifting cases, plaintiff bears the ultimate burden of persuading

     the trier of fact).

            The Supreme Court has long recognized that the state has broad authority to

     protect the physical, mental, and moral well-being of its youth. Planned Parenthood

     of Cent. Mo. v. Danforth, 428 U.S. 52, 72-74 (1976). The Court is mindful that

     schools are traditionally locally controlled and that a federal court should tread lightly

     when asked to contravene a policy established by a local school board. Minor

     children are involved here and the concerns of their parents and school administrators

     charged with their safety cannot be minimized. Moreover, of all the areas in a school,

     bathrooms are where privacy considerations are at their peak. So, even if a school

     is otherwise prepared to accept a student as transgender, it is not surprising that

     allowing transgender students to use restrooms aligned with their gender identity is

     not an easy step. But neither was it easy when public restrooms were racially

     integrated. To be sure, what the law requires and what some are comfortable with

     are not always the same. Nonetheless, “[a]n individual can invoke a right to

     constitutional protection when he or she is harmed, even if the broader public



     to “restrooms” or “bathrooms” within this section of the opinion do not include those
     located in the locker room or shower facilities.

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     disagrees and even if the legislature refuses to act.” Obergefell v. Hodges, 135 S.

     Ct. 2584, 2605 (2015).

             A.    Equal Protection Clause Claim

             The Equal Protection Clause of the Fourteenth Amendment provides that no

     State may “deny to any person within its jurisdiction the equal protection of the laws.”

     U.S. Const. amend. XIV, § 1. Accordingly, the St. Johns County School Board, a

     political subdivision of the State of Florida,35 must “treat all persons similarly situated

     alike or, conversely, [must] avoid all classifications that are ‘arbitrary or irrational’ and

     those that reflect ‘a bare desire to harm a politically unpopular group.’” Glenn v.

     Brumby, 663 F.3d 1312, 1315 (11th Cir. 2011) (quoting City of Cleburne v. Cleburne

     Living Ctr., Inc., 473 U.S. 432, 446-47 (1985)). Generally, state action will be upheld

     “if it is rationally related to a legitimate governmental purpose.” Id. However,

     classifications based on “sex or gender” are subject to intermediate scrutiny. Id. at

     1315-17; see also Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858



        35
          See Fla. Const. art. IX, § 4 (establishing governance of Florida’s public education
     system in each county by elected members of district school boards); Fla. Stat.
     1.01(8) (defining political subdivision to include “all other districts in this state”); Fla.
     Stat. § 120.52(1)(a) and (6) (defining state agency to include local school districts);
     Fla. Stat. Title XLVIII (Florida’s K-20 Education Code, Ch. 1000-1013); NLRB v. Nat.
     Gas Util. Dist. of Hawkins Cty, 402 U.S. 600, 604-05 (1971) (explaining that an entity
     is a “political subdivision” under federal law if it is either “(1) created directly by the
     state, so as to constitute departments or administrative arms of the government, or
     (2) administered by individuals who are responsible to public officials or to the general
     electorate”).

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     F.3d 1034, 1050-52 (7th Cir. 2017) (determining school district decision to exclude

     transgender students from bathrooms matching their gender identity was based on

     sex stereotyping, and thus subject to heightened scrutiny36); M.A.B. v. Bd. of Educ.

     of Talbot Cty., 286 F.Supp. 3d 704, 718-19 (D. Md. 2018) (reviewing Glenn and

     Whitaker and determining that heightened scrutiny applied in transgender school

     bathroom case); A.H. v. Minersville Area Sch. Dist., 290 F. Supp. 3d 321, 331 (M.D.

     Pa. 2017) (holding intermediate scrutiny applied in transgender school bathroom

     case); Evancho v. Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa.

     2017) (same); Stone v. Trump, 280 F. Supp. 3d 747, 768 (D. Md. 2017) (applying

     intermediate scrutiny to decision to exclude transgender individuals from the military);

     Doe 1 v. Trump, 275 F. Supp. 3d. 167, 210 (D.D.C. 2017) (same).

              The School Board’s bathroom policy cannot be stated without referencing sex-

     based classifications, as it requires what it terms “biological boys”--intended by the

     School Board to mean those whose sex assigned at birth is male--to use the boys’

     bathrooms or gender-neutral bathrooms, and it requires “biological girls”--intended by



         36
           As explained by the Eleventh Circuit in Glenn, “heightened” scrutiny includes
     both intermediate and strict scrutiny. Glenn, 663 F.3d at 1316, n.4 (citing Clark v.
     Jeter, 486 U.S. 456, 461 (1988)). The “heightened” scrutiny test applied in Whitaker
     is the same as the “intermediate” scrutiny test applied in Glenn. Though Adams
     argued that strict scrutiny might apply here, the Court is not aware of any transgender
     bathroom case that has applied strict scrutiny, reserved for “classifications pertaining
     to race or national origin or to those affecting certain fundamental rights.” Id. (citing
     Clark, 486 U.S. at 461).

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     the School Board to mean those whose sex assigned at birth is female--to use the

     girls’ bathrooms or gender-neutral bathrooms. But Adams identifies as a boy, is

     identified by others as a boy, is legally deemed by the state of Florida to be a boy,

     lives as a boy, uses the men’s restroom outside of the school setting, and is otherwise

     treated as a boy--except when it comes to his use of the school bathrooms. The

     School Board Attorney agreed that as a transgender boy, Adams is not treated the

     same as “biological boys” when it comes to using the restroom. Doc. 162 at Tr. 118.

     Thus, although the policy treats most boys and girls the same, it treats Adams

     differently because, as a transgender boy, he does not act in conformity with the sex-

     based stereotypes associated with the sex he was assigned at birth (female). “This

     policy is inherently based upon a sex-classification and heightened review applies.”

     Whitaker, 858 F.3d at 1051 (explaining that school bathroom policy which relied on

     sex listed on students’ birth certificates did not treat all boys and girls the same (and

     therefore violated the Equal Protection Clause) because transgender students, who

     fail to conform to sex-based stereotypes associated with their sex assigned at birth,

     are treated differently). As the Eleventh Circuit explained in Glenn, “[a]ll persons,

     whether transgender or not, are protected from discrimination on the basis of gender

     stereotype,” which includes “perceived gender-nonconformity,” “a form of sex-based

     discrimination that is subject to heightened scrutiny under the Equal Protection

     Clause.” 663 F.3d at 1318-19. The School Board does not dispute that its bathroom


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     policy makes distinctions based on sex and is subject to intermediate scrutiny;37 that




        37
          To the extent the School Board contends Adams must make a threshold showing
     of discriminatory intent to state an Equal Protection claim (Doc. 173 at 34), that may
     be a misreading of the circumstances here. See Personnel Adm’r of Mass. v.
     Feeney, 442 U.S. 256, 273-74 (1979) (explaining that if a statute is neutral on its face
     and its classifications are not based on gender, the court must inquire whether its
     effect nonetheless reflects invidious gender-based discrimination); see also Morrissey
     v. United States, 871 F.3d 1260, 1268-72 (11th Cir. 2017) (examining facially neutral
     tax law and finding homosexual taxpayer could not show that different treatment was
     motivated by an intent to discriminate). Here, by contrast, defendant agrees that its
     bathroom policy makes distinctions based on sex and is subject to intermediate
     scrutiny. Doc. 173-1 (Defendant’s proposed findings of fact and conclusions of law)
     at 37. Although the School Board did not have transgender students in mind when
     it originally established separate multi-stall restrooms for boys and girls, it has since
     become aware of the need to treat transgender students the same as other students
     and does so in all other respects, except when it comes to the bathroom policy: A
     student whose sex assigned at birth is female is subject to discipline if the student
     identifies as a male and uses the boys’ restroom, whereas the same student would
     be free to use the boys’ restroom if his sex assigned at birth was male or if he agreed
     to act in conformity with the School Board’s expectations and use the girls’ restroom.
     Thus, even if it started out that way, the school bathroom policy is no longer a neutral
     rule because it applies differently to transgender students, as the School Board itself
     acknowledges. See Romer v. Evans, 517 U.S. 620, 634 (1996) (noting that class
     separation raises an “inevitable inference” of animosity toward the affected class);
     Doe 1 v. Trump, 275 F. Supp. 3d at 209-10 (applying intermediate scrutiny to Equal
     Protection Claim brought by current and aspiring transgender military service
     members because the policy to exclude them “inherently discriminates” against them);
     Stone, 280 F. Supp. 3d at 768 (finding transgender service members met threshold
     of showing “intentional or purposeful discrimination” because there was “no doubt”
     that policy set apart transgender service members for different treatment). See also
     A.H., 290 F. Supp. 3d at 331, n.5 (finding that to the extent plaintiff was required to
     allege intentional discrimination, she had done so by alleging that the principal said
     the school wasn’t ready to handle transgender students in bathrooms and that his job
     was to protect other students from plaintiff). The School Board’s positions here echo
     those pled in A.H. and, to the extent it’s necessary, the Court finds Adams has made
     the threshold showing of intentional discrimination.

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     is the standard the Court will apply.38

              Under the intermediate scrutiny standard, the School Board must show that “‘its

     gender classification is substantially related to a sufficiently important government

     interest.’” Glenn, 663 F.3d at 1316 (quoting Cleburne, 473 U.S. at 441). The

     justification for its policy must be “exceedingly persuasive.” United States v. Virginia,

     518 U.S. 515, 532-33 (1996). “Moreover, the classification must substantially serve

     an important governmental interest today, for in interpreting the equal protection

     guarantee, [the Supreme Court has] recognized that new insights and societal

     understandings can reveal unjustified inequality that once passed unnoticed and



         38
            Because of the School Board’s concession and the Eleventh Circuit’s clear
     statement in Glenn, the Court has no occasion to engage in the further analysis many
     other transgender bathroom cases have which additionally considered whether
     transgender people are a quasi-suspect class, deserving of heightened scrutiny per
     se. See, e.g., Grimm v. Gloucester Cty. Sch. Bd., 302 F. Supp. 3d 730, 749-50 (E.D.
     Va. 2018) (concluding transgender individuals are a quasi-suspect class) M.A.B., 286
     F. Supp. 3d at 719-22 (same); Bd of Educ. of the Highland Local Sch. Dist. v. U.S.
     Dep’t of Educ., 208 F. Supp. 3d 850, 872-74 (S.D. Ohio 2016) (same); Evancho, 237
     F. Supp. 3d at 288-89 (finding “all the indicia” supported application of intermediate
     scrutiny to classification involving transgender status); cf., Johnston v. Univ. of
     Pittsburgh, 97 F. Supp. 3d 657, 668 (W.D. Pa. 2015) (declining to recognize
     transgender status as a quasi-suspect class because neither the Supreme Court nor
     the Third Circuit had yet done so). The Third Circuit’s recent decision in Doe v.
     Boyertown Area School District, though not an Equal Protection Clause case,
     suggests the Third Circuit would likely accord quasi-suspect class status to
     transgender individuals. 893 F.3d 179, 184 (3d Cir. 2018) (finding policies that
     exclude transgender individuals from facilities consistent with their gender identity
     have detrimental effects on their physical and mental health, safety and well-being,
     citing high rates of suicide, homelessness, and other problems afflicting transgender
     people).

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     unchallenged.” Sessions v. Morales-Santana, 137 S. Ct. 1678, 2690 (2017) (internal

     quotation and alterations omitted, emphasis in original) (citation omitted). The School

     Board contends its bathroom policy is substantially related to its important interests

     in student privacy and student safety, both of which fall within its statutory

     responsibility for student welfare.

                  1.     Privacy

           The School Board claims that its long-standing policy of having separate boys’

     and girls’ bathrooms has created an expectation of privacy for students and parents

     who do not expect students of the opposite sex to share the bathroom space. Doc.

     162 at Tr. 67. The Court agrees that the School Board has a legitimate interest in

     protecting student privacy, which extends to bathrooms. But allowing transgender

     students to use the restrooms that match their gender identity does not affect the

     privacy protections already in place. When he goes into a restroom, Adams enters

     a stall, closes the door, relieves himself, comes out of the stall, washes his hands,

     and leaves. Adams has encountered no problems using men’s restrooms in public

     places, and there were no reports of problems from any boys or boys’ parents during

     the six weeks of his freshman year when Adams used the boys’ restrooms at Nease.

     Nor was there any evidence that any school official associated with the St. Johns

     County School District, including members of its LGBTQ task force, had ever heard

     of any incident anywhere where a transgender student using a restroom acted in a


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     manner that invaded another student’s privacy.

           Likewise, the research and experience of the school officials from Broward

     County and Jefferson County Public Schools in Kentucky revealed no privacy

     concerns when transgender students used the restroom that matched their gender

     identity. While St. Johns County School personnel said girls may want privacy in the

     restrooms while talking to their peers, changing clothes (which can be done in a stall),

     putting on make-up, or removing stains from their clothing, none of that requires them

     to expose their anatomy to other students such that having a transgender student in

     the restroom would invade their bodily privacy.        And, any student who wants

     additional privacy for any reason is permitted to use the gender-neutral single-stall

     bathrooms.

           Admittedly, the boys’ restrooms at Nease– which Adams would use if he could–

     have urinals without dividers, so if someone chose to be a voyeur, there is the

     potential that a boy’s genitals could be viewed. But this is not a real concern for

     several reasons. First, Adams cannot use a urinal and always uses a stall. Second,

     there is no evidence that a transgender boy is more likely to be curious about another

     student’s anatomy than any other boy. Third, any student engaging in voyeurism in

     the bathroom would be engaging in misconduct which is subject to discipline through

     the School District’s code of conduct. Fourth, any boy who is concerned about other

     students seeing his anatomy can use a gender-neutral bathroom or a stall in the boys’


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     restroom (as Adams would when using the boys’ restroom).

           Nor was there any evidence that transgender students might expose

     themselves to other students in the restroom; in fact, the evidence was to the

     contrary– transgender students want to be discrete about their anatomy so other

     students do not recognize them as anything but the gender with which they identify.

     Indeed, as the School Board admitted, there could be transgender students whose

     enrollment documents are consistent with the students’ gender identity, and no one

     would know they are using restrooms that are different from the ones that match their

     sex assigned at birth.

           Based on the evidence at trial, the Court concludes that the School District’s

     bathroom policy “does nothing to protect the privacy rights of each individual student

     vis-a-vis students who share similar anatomy and it ignores the practical reality of how

     [Adams], as a transgender boy, uses the bathroom: by entering a stall and closing

     the door.” Whitaker, 858 F.3d at 1052; see also Boyertown, 893 F.3d at 193

     (rejecting cisgender students’ argument that transgender students in school locker

     rooms and multi-stall restrooms violated their constitutional right to privacy, noting

     “appellants are claiming a very broad right of personal privacy in a space that is, by

     definition and common usage, just not that private”). Thus, when the School District’s

     stated privacy interest is “weighed against the facts of the case and not just examined

     in the abstract,” Whitaker, 858 F.3d at 1052, it fails to provide an “exceedingly


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     persuasive justification” for the School Board’s bathroom policy.39 Virginia, 518 U.S.

     at 556. See also Grimm, 302 F. Supp. 3d at 751 (finding School Board’s privacy

     argument “[rang] hollow” and was based on conjecture given that the only complaints

     came from adults, not students (who had shared a restroom with the transgender

     student for weeks) and because a “‘transgender student’s presence in a restroom

     provides no more of a risk to other students’ privacy rights than the presence of an

     overly curious student of the same biological sex’”) (quoting Whitaker, 858 F.3d at

     1052); Evancho 237 F. Supp. 3d at 289-90 (acknowledging school’s obligation to

     protect student privacy but finding “facts on the ground” revealed school bathroom

     layout (composed of stalls with locking doors and partitioned urinals) did not pose any




         39
           The School Board also relied on the privacy rights accorded under the Florida
     Constitution (Article I, Section 23), but did not explain how those rights would be
     infringed by the presence of a transgender student in a restroom conforming to his or
     her gender identity, nor why those rights should be given more weight than the Equal
     Protection rights at stake. Moreover, the School Board Attorney acknowledged that
     the Broward County School District (also in Florida) was not violating any Florida law
     by following its policy, which permits transgender students to use the restroom that
     accords with their gender identity. See Doc. 162 at Tr. 122-23. For the same reasons
     cited above, the privacy rights guaranteed under the Florida Constitution are not
     endangered when transgender students use multi-stall school restrooms that match
     their gender identity, particularly where all students have the option to avail
     themselves of the privacy afforded by the multi-stall and gender-neutral single-stall
     bathrooms. The persuasiveness of the cases relied on in the above analysis is not
     diminished merely because their states do not have a constitutional right of privacy
     similar to Florida’s. Nor is their analysis less persuasive because a state law may
     have prohibited discrimination on the basis of gender identity.

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     actual risk of invasion of a student’s personal privacy).40

                    2.    Safety

              The School Board also cites student safety as a basis to uphold its bathroom

     policy, expressing concern for transgender students who may be bullied or harassed

     in the bathroom matching their gender identity and for cisgender students who may

     not feel safe if a person with genitalia of the opposite sex is in the restroom with them.

     There was no evidence that Adams encountered any safety concerns during the six

     weeks he used the boys’ restroom at Nease or when he does so in other public

     places. Likewise, there was no evidence that Adams presents any safety risk to other

     students or that transgender students are more likely than anyone else to assault or

     molest another student in the bathroom. Any incidents of misconduct are subject to

     the school’s code of conduct and, if necessary, Florida criminal law.

              None of the school officials who testified had ever heard of an incident where

     student safety was compromised by the presence of a transgender student in the

     restroom that matched his or her gender identity. Again, any student with safety

     concerns–including a transgender student–can use a gender-neutral single-stall

     bathroom. Consistent with a number of other courts that have considered the issue,



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           The School Board relies on numerous cases for the general proposition that
     students have an interest in protecting their bodily privacy (see Doc. 173-1 at 37-40).
     The Court does not disagree, but the evidence at trial established that student privacy
     will not be infringed by permitting Adams to use the boys’ restrooms.

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     this Court finds concern for student safety is not an “exceedingly persuasive

     justification” for upholding the school bathroom policy. Virginia, 518 U.S. at 556; see,

     e.g., Evancho, 237 F. Supp. 3d at 291 (finding safety concerns were unfounded given

     availability of disciplinary code and lack of record of any threat that a student would

     pose as transgender to gain access to a restroom); Highland, 208 F. Supp. 3d at 876-

     77 (finding testimony from other districts showed parents’ safety concerns to be

     “wholly unfounded in practice” and noting that any worry about sexual activity in the

     bathrooms was “logical[ly] flaw[ed]” given that gay males were not excluded from

     boys’ restrooms and gay females were not excluded from girls’ restrooms).

                  3.     Additional Considerations

           Although the Court has found that the School Board’s concerns about privacy

     and safety are only conjectural (and therefore insufficient to survive intermediate

     scrutiny), the School District says it creates policy with an eye toward minimizing the

     risk of future problems, even if none have ever occurred. With that in mind, the Court

     has carefully considered whether the eleven gender-neutral single-stall bathrooms on

     campus (which are open to all students) provide an appropriate accommodation for

     Adams such that more is not required. They do not. While there are more stalls

     available in gender-neutral bathrooms (eleven) than in the multi-stall boys’ restrooms

     (ten), some of them are further away from Adams’ classes. More importantly,

     however, Adams testified to the stigma that attaches to his use of gender-neutral


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     bathrooms, especially when he has to walk right past an available boys’ restroom to

     find one. See Doc. 160-1 at Tr. 204 (describing the walk from his class to a gender-

     neutral single-stall bathroom as “feel[ing] almost like a walk of shame”).

             He also testified about the message it sends to other students that the school

     does not view him as a real boy. Using his words: “[B]ecause I’m using a special

     bathroom and I’m oftentimes passing a men’s bathroom, everybody knows I’m

     different, and I just want to fit in. So it’s the opposite of what I want.” Id. at Tr. 205.

     In Boyertown, the Third Circuit rejected the suggestion from cisgender students that

     the school should offer transgender students the opportunity to use gender-neutral

     single-stall facilities, finding that policy “invite[s] more scrutiny and attention” from the

     transgender students’ peers, “very publicly brand[ing] all transgender students with

     a scarlet “T” [which] they should not have to endure . . . as the price of attending their

     public school.” 893 F.3d at 192 (quoting Whitaker, 858 F.3d at 1045).41 The Court


        41
          Though not raised here, the court in M.A.B. rejected the argument that the use
     of a gender-neutral single-stall bathroom would cause cisgender students the same
     humiliation and embarrassment experienced by transgender students, finding, among
     other reasons, that requiring the transgender students to use that restroom was
     entirely different from providing cisgender students the option of using it if they wanted
     greater privacy. 286 F. Supp. 3d at 724-25. The court in Grimm adopted M.A.B.’s
     reasoning, finding an important difference between a boy who uses a gender-neutral
     single-stall bathroom because he has been singled out for differing treatment by the
     school because he is transgender and fails to conform to sex-based stereotypes, and
     a boy making a personal choice to change clothes in or use a single-stall restroom.
     302 F. Supp. 3d at 752. While the St. Johns County School Board does not actually
     require Adams to use the gender-neutral single-stall bathrooms, in reality he is not
     welcome to use the girls’ restrooms (and he does not) so his use of the gender-

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     finds the placement of the numerous gender-neutral single-stall bathrooms on

     campus, while useful and well-intentioned, does not remedy the Equal Protection

     violation.

              The retired Director of Student Services testified that the task force was

     concerned about what to do about “gender-fluid” students if the School District strayed

     from its long-standing policy of only permitting “biological boys” to use the boys’

     restroom and only permitting “biological girls” to use the girls’ restroom. The general

     point is well-taken, but merely hypothetical given where we are. This case does not

     raise the issue of what to do about gender-fluid students; rather, the question here is

     whether to permit a transgender boy who has taken significant social, medical and

     legal measures to present as a boy (and who never intends to use a girls’ restroom)

     to have access to the boys’ restroom. Thus, to the extent school officials are worried

     that gender-fluid students might be using a boys’ restroom one day and a girls’

     restroom the next, that would not happen if relief is granted here because this case

     is only about permitting one transgender boy to use the boys’ restroom.42 For this


     neutral single-stall bathrooms is not the same “option” provided to cisgender students.
         42
           There was no evidence that any St. Johns County gender-fluid students have
     come forward requesting access to any particular restroom. The Court notes that the
     Broward County School District’s LGBTQ guidelines(touted by Adams as an example
     worth following) do not include any specific restroom accommodation for gender-fluid
     students. Doc. 151, Pl. Ex. 66. See also Boyertown, 276 F. Supp. 3d at 344 (noting
     that the school district was not aware of any gender-fluid students enrolled at the high
     school, and did not yet have a plan to consider how to accommodate them).

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     same reason, the hypothetical worry that cisgender students might pose as gender-

     fluid for the purpose of gaining access to the restroom of the opposite sex is not a

     valid concern here.43 This case is not about eliminating separate sex bathrooms; it

     is only about whether to allow a transgender boy to use the boys’ bathroom.

             The Court likewise rejects the contention that permitting Adams to use the boys’

     restroom is just the beginning of a “slippery slope” which will result in the elimination

     of separate sex restrooms. As explained by the Medical Amici, a transgender

     individual “‘consistently, persistently, and insistently’ identifies as a gender different

     than the sex they were assigned at birth.” Doc. 119, Ex. A at 7. Transgender

     individuals are not gender-fluid and their sense of who they are is settled. Adams

     does not want to use the girls’ restroom. The undisputed evidence is that he is a

     transgender boy and wants to use the boys’ restroom. There is no evidence to

     suggest that his identity as a boy is any less consistent, persistent and insistent than

     any other boy. Permitting him to use the boys’ restroom will not integrate the

     restrooms between the sexes.

             Even so, the School Board contends that its policy is simply based on the

     realistic physical differences between the sexes. The School Board cites Michael M.

     v. Superior Court of Sonoma County, 450 U.S. 464 (1981), in which a plurality of the


        43
         There was no evidence of a student having ever posed as being gender-fluid at
     any school to gain entry to the bathroom of the opposite gender. Any such behavior
     could be addressed through disciplinary means.

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     Supreme Court noted that it “has consistently upheld statutes where the gender

     classification is not invidious, but rather realistically reflects the fact that the sexes are

     not similarly situated in certain circumstances.” Id. at 469. The statute in Michael M.

     (which criminally punished males for engaging in sexual intercourse with females

     under the age of eighteen to whom they are not married, but did not similarly punish

     females) was based on the physiological fact that women can get pregnant and men

     cannot. Id. at 469, 471. As the plurality opinion explained, California sought to

     prevent illegitimate teenage pregnancies (the harmful consequences of which fall

     disproportionately on the teenage female and often result in costs to the state when

     unwanted illegitimate children become its wards) by deterring men from having sex

     with underage women to whom they are not married. Id. at 470-73. The Court

     agreed with California that having a gender-neutral statute would frustrate its effective

     enforcement because women would not report the crime if they, too, would be

     prosecuted. Id. at 473-74.

            The bathroom policy here is distinguishable–everyone is subject to the same

     rule–both boys and girls must use the bathroom that aligns with their sex assigned at

     birth (or a gender-neutral one), and both boys and girls would be subject to discipline

     for disobeying the policy. The school bathroom policy does not depend on something

     innately different between the bodies of boys and girls or what they do in the

     bathroom. Michael M., by contrast, “upheld . . . the gender classification” because the


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     statute there aimed to prevent teen pregnancy and “realistically reflect[ed] the fact that

     the sexes were not similarly situated” because only women could become pregnant.

     Id. at 469. Nguyen v. I.N.S., 533 U.S. 53 (2001) is distinguishable for the same

     reason. 533 U.S. at 59-64 (upholding statute that set different requirements for

     proving parenthood for men and for women because giving birth is inherent proof of

     motherhood). No such difference is relevant here.44 Rather, it is his failure to act in

     conformity with his sex assigned at birth that is causing the School District to treat

     Adams differently. See Glenn, 663 F.3d at 1316 (holding in transgender employment

     case that “discriminating against someone on the basis of his or her gender non-

     conformity constitutes sex-based discrimination under the Equal Protection Clause”).

              The School Board also relies on Johnston v. University of Pittsburgh, 97 F.

     Supp. 3d 657 (W.D. Pa. 2015), one of a minority of cases to reject an Equal

     Protection claim by a transgender student regarding bathroom use, and Carcano v.

     McCrory, 203 F. Supp. 3d 615 (M.D. N.C. 2016), which likewise rejected an Equal

     Protection challenge brought by transgender students and an employee of a state



         44
           As further support for their position that separating boys and girls based on
     “biological sex” is permissible, the School Board also points to language in the
     Supreme Court’s Virginia decision, which recognized that [p]hysical differences
     between men and women . . . are enduring” and “the two sexes are not fungible.”
     See Doc. 173-1 at 35, 38 (quoting Virginia, 518 U.S. at 533). But here, as in Virginia,
     those differences are not relevant to the question before the Court. See Virginia. 518
     U.S. at 519 (holding the Constitution’s equal protection guarantee required Virginia
     Military Institute (which had been a male-only institution) to admit female cadets).

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     university subject to North Carolina’s “bathroom bill.” But Johnston and Carcano are

     distinguishable. Their construction of the meanings of and relationship between the

     terms “sex” and “gender” are out of step with the Equal Protection analysis in Glenn

     (an Eleventh Circuit decision), the weight of other decisions which have construed

     those terms in this context, and with the medical community whose opinions were

     admitted in this case.45 According to Glenn, “[a] person is defined as transgender

     precisely because of the perception that his or her behavior transgresses gender

     stereotypes. The very acts that define transgender people as transgender are those

     that contradict stereotypes of gender-appropriate appearance and behavior.” 663

     F.3d at 1316 (quotation and citations omitted). Thus, “discrimination against a

     transgender individual because of her gender-nonconformity is sex discrimination,

     whether it’s described as being on the basis of sex or gender.” Id. at 1317.


         45
           Johnston recognized that “the legal landscape is transforming as it relates to
     gender identity, sexual orientation, and similar issues” and that other courts had
     declined to adopt the definitions articulated in the thirty year old Seventh Circuit case
     upon which it relied, but determined that without Supreme Court or Third Circuit
     precedent, it would follow that earlier decision. See Johnston, 97 F. Supp. at 668,
     671, n.14 (citing Ulane v. E. Airlines, Inc., 742 F.2d 1081, 1085 (7th Cir. 1984)). Both
     the Seventh Circuit and the Eleventh Circuit have found Ulane’s analysis no longer
     tenable following the Supreme Court’s decision in Price Waterhouse v. Hopkins, 490
     U.S. 228 (1989), which held that Title VII’s reference to “sex” encompasses both
     biological differences and gender discrimination. See Whitaker, 858 F.3d at 1047;
     Glenn, 663 F.3d at 1318, n.5. Moreover, the Third Circuit’s Boyertown decision is
     precedent that would likely affect the outcome if Johnston were decided today. See
     Boyertown, 893 F.3d at 183-84 (providing definitions of “sex,” “gender,” “social gender
     transition” and related terms based on testimony of expert in gender dysphoria and
     gender-identity issues).

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             Though not an Equal Protection Clause case, the Third Circuit’s recent

     Boyertown decision (which rejected claims by cisgender students that transgender

     students in the restrooms violated Title IX and Pennsylvania privacy law), likely

     eviscerates any persuasive value Johnston retained. Boyertown, 893 F.3d 179.

     Likewise, the Equal Protection analysis in Carcano (which cites Nguyen and other

     authorities which permitted different treatment based on meaningful differences in

     physiology, 203 F. Supp. 3d at 642-45) is not persuasive in light of Glenn, the other

     authorities that have considered this issue, and the evidence in this case (which

     reveals that the multi-stall school bathrooms at Nease have individual stalls with doors

     that afford privacy and that all students have access to gender-neutral single-stall

     bathrooms for those who want additional privacy).46

             Although there was no testimony on the issue, the parties stipulated that some

     parents and students in the St. Johns County School District object to a policy

     permitting transgender students to use a restroom matching their gender identity,

     believing the policy “would violate the bodily privacy rights of students and raise[s]

     concerns for their privacy, safety and welfare.” Doc. 116 at § I (p. 22). There are

     cases where parents have removed their children from public school and/or have

     sued a school district over a transgender bathroom policy. See, e.g., Boyertown, 893



        46
         The privacy interests in Carcano were also implicated by shower and locker room
     facilities which are not at issue in this case. Carcano, 203 F. Supp. 3d at 642.

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     F.3d 179 (suit filed by cisgender students objecting to the presence of transgender

     students in the school restrooms and locker rooms); Evancho, 237 F. Supp. 3d at

     291-92 (noting that some parents had or intended to withdraw their children from

     school over transgender bathroom policy).

              But the Court has addressed why privacy and safety concerns, though perhaps

     understandable, simply aren’t realized when transgender students use school

     bathrooms aligned with their gender identity. See Doc. 161 at Tr. 64-65, 106-07

     (testimony of Broward County school officials); see also Whitaker, 858 F.3d at 1052;

     Boyertown, 893 F.3d at 193. Moreover, while the Court finds that the gender-neutral

     bathrooms are not an adequate remedy for the breach of Adams’ rights, they remain

     an alternative for any cisgender student who is uncomfortable sharing a restroom with

     Adams. Thus, while the School Board must take into account the concerns of

     cisgender students and their parents, it may not do so at the expense of Adams’ right

     to equal protection under the law. “If adopting and implementing a school policy or

     practice based on [the] individual determinations or preferences of parents–no matter

     how sincerely held–runs counter to the legal obligations of the [School] District, then

     the District’s and the Board’s legal obligations must prevail.” Evancho, 237 F. Supp.

     3d at 292.47


         47
          The School Board also contends that its policy cannot be held to violate the
     Equal Protection Clause when they are merely following distinctions between the
     sexes permitted by Title IX and its implementing regulations. As further discussed

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           The School Board has not shown that ‘its gender classification is substantially

     related to a sufficiently important government interest,’” Glenn, 663 F.3d at 1316

     (quotation omitted), let alone that the justification for its policy is “exceedingly

     persuasive.” Virginia, 518 U.S. at 556. Nor has it shown a “foundation for the

     conclusion that allowing [Adams to use the boys’ restroom] will cause the harmful

     outcomes they describe.” Obergefell, 135 S. Ct. at 2607. Adams has therefore

     proven that the School Board has violated his rights under the Equal Protection

     Clause through its enforcement of the school bathroom policy.

           B.     Title IX

           Adams also claims that the School Board bathroom policy violates his rights

     under Title IX of the Education Amendments Act of 1972. Under Title IX, no person

     “shall, on the basis of sex, be excluded from participation in, be denied the benefits

     of, or be subjected to discrimination under any education program or activity receiving

     Federal financial assistance . . . .” 20 U.S.C. § 1681(a). The statute’s implementing

     regulations provide that a covered institution cannot provide different aid, benefits, or

     services; cannot deny aid, benefits, or services; and cannot subject any person to

     separate or different rules, sanctions, or treatment, “on the basis of sex.” See 34

     C.F.R. § 106.31(b)(2)-(4); Whitaker, 858 F. 3d at 1046-47. However, a covered



     below, the Court finds this argument unavailing.


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     institution “may provide separate toilet, locker room, and shower facilities on the basis

     of sex, but such facilities provided for students of one sex shall be comparable to such

     facilities provided for students of the other sex.” 34 C.F.R. § 106.33.

           To prove his claim here, Adams must demonstrate that (1) he was subjected

     to discrimination in an educational program or activity; (2) the discrimination was “on

     the basis of sex;” (3) the School Board receives federal funding; and (4) the

     discrimination caused him harm. See Seamons v. Snow, 84 F.3d 1226, 1232 (10th

     Cir. 1996); Highland, 208 F. Supp. 3d at 865. The St. Johns County School Board

     receives federal financial assistance and is subject to Title IX. Doc. 116 at § I, ¶ 2;

     Doc. 151, Pl. Ex. 138 at Request for Admission # 3 & 4. The School Board does not

     contest that the use of the school restrooms is an “education program or activity”

     within the meaning of Title IX. See Highland, 208 F. Supp. 3d at 865 (“Access to the

     bathroom is . . . an education program or activity under Title IX.”). The Court’s

     consideration in the Equal Protection analysis of harm to Adams caused by the

     School Board policy excluding Adams from the boys’ restrooms applies here too.

     Thus, as in a number of other cases where transgender students have raised Title IX

     challenges to their school’s bathroom policies, the issue here is whether the bathroom

     policy which excludes Adams from the boys’ restroom based on his transgender

     status is discrimination “on the basis of sex” as used in Title IX and its implementing

     regulations.


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           Title IX does not define the term “sex,” nor do its regulations. There is no

     Eleventh Circuit or Supreme Court authority directly on point. Adams argues the term

     “sex” includes gender identity, whereas the School Board contends the term “sex”

     means “biological sex.” Given the lack of definition within the statute or regulation,

     and recognizing that a number of courts have struggled with this exact question, this

     Court finds the term “sex” as used in Title IX is ambiguous as applied to transgender

     students. Cf. Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997) (Thomas, J., for the

     unanimous court) (explaining that statutory interpretation is unnecessary “if the

     language at issue has a plain and unambiguous meaning with regard to the particular

     dispute in the case”) (emphasis supplied).

           The School Board raises four main arguments in support of its interpretation:

     first, the meaning of the word “sex” as based on dictionary definitions at the time Title

     IX was enacted and its legislative history support a conclusion that “sex” means

     “biological sex;” second, Title IX permits schools to provide separate boys’ and girls’

     bathrooms so it cannot be a violation to separate the sexes in the restrooms; third, the

     Department of Education’s current interpretation of Title IX refutes the argument that

     “sex” includes “gender identity;” and fourth, court decisions that have utilized Title VII

     principles to glean a definition of sex (cases upon which plaintiff relies for his




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     interpretation) are inapplicable.48

              Citing Judge Niemeyer’s dissent from the affirmance of entry of a preliminary

     injunction in G.G. v. Gloucester County School Board, 822 F.3d 709, 736 (4th Cir.

     2016), vacated and remanded, 137 S. Ct. 1239 (2017), the School Board contends

     that contemporaneous dictionary definitions of the word “sex” at the time Congress

     passed Title IX reveal it was “universally understood as referring to the biological or

     physiological characteristics that constitute a person’s sex, and not an internal

     identification with one gender or the other.” Doc. 173-1 at 27. However, the majority

     in G.G. did not find the meaning to be so universally clear, noting, for example, that

     a 1970 dictionary defined “sex” as “the character of being either male or female.”

     G.G., 822 F.3d at 721 (quoting the American College Dictionary 1109 (1970)); see

     also Highland, 208 F. Supp. 3d at 866 (considering the parties’ debate about the

     dictionary definition of “sex” at the time Title IX was enacted, stating “dictionaries from

     that era defined ‘sex’ in myriad ways” and did not reflect “a uniform and unambiguous

     meaning of ‘sex’ as biological sex or sex assigned at birth”); Students and Parents for

     Privacy v. United States, No. 16-cv-4945, 2016 WL 6134121, at *17-18 (N.D. Ill. Oct.



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            The first three of these arguments were initially raised in the School Board’s
     motion to dismiss (Doc. 54, adopted as to the amended complaint by notice, Doc. 64).
     The Court carried the motion with the case, determining that the evidence at trial on
     the Equal Protection claim would essentially be the same regardless of whether the
     Title IX claim remained, and that it would be preferable to decide the motion on a full
     record. For the reasons stated here, the motion is denied.

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     18, 2016) (finding dictionary definitions of “sex” included room for “gender identity”).

     The Court does not find the plain meaning of the word “sex” as used in Title IX to be

     apparent from contemporaneous dictionary definitions.

           Nor is the Court persuaded that the legislative history relied on by the School

     Board provides a definitive answer, as it merely emphasized that Title IX was not

     intended to integrate the sexes (something no one is advocating here). See Doc.

     173-1 at 28-29 (relying on statements of Title IX’s sponsor, Senator Birch Bayh).

     Subsequent uses of the terms “gender” and “gender identity” in other statutes likewise

     fail to convince the Court that the omission of those terms in Title IX was intentional.

     The presumption that terms are used consistently by Congress is “entitled to less

     force where, as here, the [School Board] points to terms used in different statutes

     passed by different Congresses in different decades.” Zarda v. Altitude Express, Inc.,

     883 F.3d 100, 129 (2d Cir. 2018); see also Jackson v. Birmingham Bd. of Educ., 544

     U.S. 167, 174-75 (2005) (holding that Title IX’s use of broad term “discrimination”

     included retaliation, notwithstanding that Title VII showed Congress’ ability to provide

     express prohibitions against specific kinds of discrimination, including retaliation);

     Robinson, 519 U.S. at 340-44 (holding that Title VII’s use of the term “employee”

     included “former employee” even though later statutes specifically used “former

     employee” when describing category of persons covered by term “employee”); United

     States v. Wise, 370 U.S. 405, 414 (1962) (finding subsequent Congress’ interpretation


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     of term used in earlier-enacted statute was not relevant in construing term’s meaning);

     Whitaker, 858 F.3d at 1049 (rejecting argument that Congress’ failure to add

     transgender status as a protected characteristic to Title IX signaled an intentional

     omission). As the Supreme Court has explained, “[c]ongressional inaction lacks

     persuasive significance because several equally tenable inferences may be drawn

     from such inaction, including the inference that the existing legislation already

     incorporated the offered change.” Pension Benefit Guar. Corp. v. LTV Corp., 496

     U.S. 633, 650 (1990) (quotation and citation omitted).

              The School Board also argues that because Title IX explicitly allows “separate

     living facilities for the different sexes,” 20 U.S.C. § 1686, and its implementing

     regulations permit schools to provide “separate toilet, locker room, and shower

     facilities on the basis of sex,” 34 C.F.R. § 106.33, it cannot be a violation of the statute

     to provide school restrooms which are separated based on “biological sex.” The

     Court is unpersuaded. Because neither Title IX nor the regulation define “sex” or “on

     the basis of sex,” the statute and regulation cannot be presumed to mean “biological

     sex.”49 Adams is not contending that the school cannot provide separate restrooms

     for the sexes–he just wants the school to recognize that, interpreting sex to include


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           The FHSAA (which governs competitive interscholastic sports at Florida high
     schools (including Nease) and allows students to play on teams based on their
     gender identity) apparently finds Title IX’s use of the word “sex” includes “gender
     identity.” See 34 C.F.R. § 106.41(b) (Title IX regulation governing athletics, stating
     that schools may operate “separate teams for members of each sex”).

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     gender identity, he is a boy and should be permitted to use the boys’ restrooms.50

           In 2017, the Department of Education withdrew earlier guidance which had

     instructed that the term “sex” under Title IX included gender identity and that schools

     must allow transgender students to use sex-segregated restrooms, locker rooms and

     shower facilities consistent with their gender identity. Doc. 152, Def. Ex. 84, 237. The

     School Board contends that the withdrawal of that guidance signifies that the

     Department of Education disagrees with an interpretation of “sex” that includes

     gender identity for purposes of Title IX. But the 2017 Guidance stated it was

     withdrawing the earlier guidance because it had not undergone any formal public

     process and had been issued without extensive legal analysis or explanation as to

     how it was consistent with Title IX. Doc. 152, Def. Ex. 237. Thus, the rescission of

     the old guidance without issuing new guidance does not provide any interpretation of

     Title IX from the Department of Education. See A.H., 290 F. Supp. 3d at 326-27

     (rejecting contention that withdrawal of previous guidance meant that school could



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             The School Board argues that a finding that its policy violates the Equal
     Protection Clause renders Title IX unconstitutional. But even if the Court agreed with
     the School Board that “sex” as used in Title IX meant “biological sex” (using the term
     as the School Board defines it), Title IX does not mandate separate facilities, so a
     contrary Equal Protection ruling would not affect its constitutionality. See Fitzgerald
     v. Barnstable Sch. Comm., 555 U.S. 246, 259 (2009) (“Title IX exempts from its
     restrictions several activities that may be challenged on constitutional grounds;” some
     of which “may form the basis of equal protection claims.”) (citations omitted); see also
     Boyertown, 893 F.3d at 195 (noting that “Title IX does not require [schools to] provide
     separate privacy facilities for the sexes”).

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     rely on Title IX to prohibit transgender students from accessing bathrooms consistent

     with their gender identity). But see Evancho, 237 F. Supp. 3d at 297-301 (finding the

     uncertain legal landscape created by the 2017 withdrawal of the 2016 Guidance,

     coupled with the Supreme Court’s decision to stay its consideration of the Fourth

     Circuit’s G.G. decision in light of that withdrawal,51 meant plaintiffs could not

     demonstrate a likelihood of success on their Title IX claim at that time to support entry

     of a preliminary injunction (which the court nevertheless granted on their Equal

     Protection claim)).

             It is true, as the School Board notes, that some of the transgender school

     bathroom decisions which considered Title IX relied on the now rescinded guidance

     in reaching a result. See, e.g., G.G., 822 F.3d at 721 (applying Auer52 deference to

     agencies’ interpretation of ambiguous term “sex” to find transgender student alleged

     violation of Title IX), vacated and remanded, 853 F.3d 729 (4th Cir. 2017); Highland,

     208 F. Supp. 3d at 869-70 (entering preliminary injunction on Title IX claim after giving

     Auer deference to ambiguous term “sex”). However, cases examining the question



        51
          The Supreme Court subsequently remanded G.G. for further consideration of the
     Title IX claim, 137 S. Ct. 1239 (2017), and, as noted below, the district court recently
     denied the school board’s motion to dismiss the transgender student’s Title IX claim.
     Grimm, 302 F. Supp. 3d at 748.
        52
           Auer v. Robbins, 519 U.S. 452 (1997) (requiring that an agency’s interpretation
     of its own ambiguous regulation be given controlling weight unless plainly erroneous
     or inconsistent with the statute or implementing regulation).

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     subsequent to that withdrawal have found a likelihood (or permitted cases to proceed

     on a claim) that a policy that prohibits transgender students from using a bathroom

     matching their gender identity have separated students “on the basis of sex” within

     the meaning of Title IX. See Whitaker, 858 F.3d at 1049-50 (affirming entry of

     preliminary injunction in favor of transgender student on Title IX claim); Grimm, 302

     F. Supp. 3d at 742-48 (noting withdrawal of earlier guidance, but holding transgender

     student had stated a Title IX claim for sex discrimination); A.H., 290 F. Supp. 3d at

     329 (same); Evancho, 237 F. Supp. 3d at 283, n.23 (denying school district’s motion

     to dismiss on transgender students’ Title IX claim, finding plaintiffs had crossed the

     pleading threshold despite not meeting the “extraordinary” standard needed to secure

     a preliminary injunction based on Title IX).

           Finding that Title IX does not define the ambiguous terms “sex” and “on the

     basis of sex” for purposes of their application to transgender students, many courts

     have looked to decisions interpreting other anti-discrimination statutes, particularly

     Title VII, which prohibits employment discrimination based on, among other things,

     sex. 42 U.S.C. §§ 2000e et seq. See, e.g., Boyertown, 893 F.3d at 195, n.103

     (“Courts have frequently looked to Title VII authority for guidance with Title IX

     cases.”); Whitaker, 858 F.3d at 1047-49 (reviewing Title VII and Equal Protection

     Clause case law to decide Title IX transgender school bathroom issue); M.A.B., 286

     F. Supp. 3d at 713-15 (same); Grimm, 302 F. Supp. 3d at 744-47 (same); see also


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     Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 616, n.1 (1999) (“This Court has also

     looked to its Title VII interpretations of discrimination in illuminating Title IX.”

     (collecting cases)).

              In looking for Title IX guidance, the transgender school bathroom decisions

     inevitably consider Price Waterhouse v. Hopkins, 490 U.S. 228 (1989), which held in

     a Title VII case that discrimination on the basis of gender stereotype is sex-based

     discrimination. The transgender school bathroom cases also look to Price

     Waterhouse’s progeny, including the Eleventh Circuit’s Glenn decision which, though

     an Equal Protection case, turned to Title VII precedent for guidance and stands as

     authority for the proposition that “discrimination against a transgender individual

     because of [ ] gender-nonconformity is sex discrimination, whether it’s described as

     being on the basis of sex or gender.”53        Glenn, 663 F.3d at 1317; see, e.g.,

     Boyertown, 893 F.3d at 199 (“We are not alone in reaching th[e] conclusion” that “Title



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          The Court rejects the School Board’s crimped interpretation of Glenn, which it
     attempts to distinguish by claiming that, unlike Glenn, the School Board does not
     engage in gender or sex stereotyping when it excludes Adams from the boys’
     bathroom. As explained in Glenn, “[a] person is defined as transgender precisely
     because of the perception that his or her behavior transgresses gender stereotypes.
     The very acts that define transgender people as transgender are those that contradict
     stereotypes of gender-appropriate appearance and behavior.” 663 F.3d at 1316
     (quotation and citations omitted). This is borne out by the facts of this case. Adams’
     desire to use the boys’ bathroom stems from his gender identity, which is not in
     accordance with the sex he was assigned at birth. The School Board policy that
     excludes Adams is based on its belief that he is not acting in conformity with the sex
     he was assigned at birth.

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     IX prohibits discrimination against transgender students in school facilities just as Title

     VII prohibit[s] discrimination [against a gender non-conforming employee in the

     workplace]”) (citing, inter alia, Glenn and Whitaker); Whitaker, 858 F.3d at 1048 (citing

     Glenn as support for the proposition that “[b]y definition, a transgender individual does

     not conform to the sex-based stereotypes of the sex that he or she was assigned at

     birth”; thus, when a person is punished for their gender non-conformity by refusing

     them use of a bathroom that accords with their gender identity, Title IX is violated);

     Grimm, 302 F. Supp. 3d at 746 (concluding a transgender student can state a claim

     of sex discrimination under Title IX by extension of the analysis of numerous Title VII

     and federal civil rights cases, including Glenn, which recognize that “claims of

     discrimination on the basis of transgender status are per se sex discrimination”);

     Parents for Privacy v. Dallas Sch. Dist. No. 2, ___ F. Supp. 3d ___, 2018 WL

     3550267, *22-23 (D. Ore. July 24, 2018) (citing, inter alia, Glenn, Boyertown,

     Whitaker, M.A.B., and Grimm for support in concluding that “to require students to use

     only facilities that match their biological sex or to use gender-neutral alternative

     facilities would violate Title IX”).

            This Court likewise follows the guidance of Glenn and other authorities cited

     above to conclude that the meaning of “sex” in Title IX includes “gender identity” for

     purposes of its application to transgender students. See Bostock v. Clayton Cty. Bd.

     of Comm’rs, 723 F. App’x 964, 965, n.2 (11th Cir. May 10, 2018) (unpub.) (per


                                                 63
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     curiam) (citing Glenn for proposition that in an equal protection claim, “discrimination

     based on gender nonconformity [is] sex discrimination”), reh’g en banc denied, ___

     F.3d ___, 2018 WL 3455013 (11th Cir. July 18, 2018); Evans v. Georgia Reg. Hosp.,

     850 F.3d 1248, 1254 (11th Cir. 2017) (same);54 Chavez v. Credit Nation Auto Sales,

     LLC, 641 F. App’x 883 (11th Cir. 2016) (unpub.) (per curiam) (reversing entry of

     summary judgment in Title VII case where transgender employee created a triable

     issue of fact as to whether gender bias was a motivating factor in employer’s decision

     to fire her); Valentine Ge v. Dun & Bradstreet, Inc., No. 6:15-cv-1029-Orl-41GJK,

     2017 WL 347582 (M.D. Fla. Jan. 24, 2017) (citing Chavez, 641 F. App’x at 884, for

     proposition that “[s]ex discrimination includes discrimination against a transgender

     person for gender nonconformity,” but finding employee failed to show employer

     terminated her because she transitioned to be a woman); see also Jackson, 544 U.S.


           54
            While acknowledging Glenn’s authority regarding claims of gender non-
     conformity, both Evans and Bostock held that Title VII does not recognize a claim for
     sexual orientation discrimination, which the Eleventh Circuit distinguishes from gender
     nonconformity. See Evans, 850 F.3d at 1255-57; Bostock, 723 F. App’x at 964. As
     explained by Judge William Pryor, “[d]eviation from a particular gender stereotype
     may correlate disproportionately with a particular sexual orientation, and plaintiffs who
     allege discrimination on the basis of gender nonconformity will often also have
     experienced discrimination because of sexual orientation[;] . . . [b]ut under Title VII,
     we ask only whether the individual experienced discrimination for deviating from a
     gender stereotype.” Evans, 850 F.3d at 1259 (Pryor, William, J., concurring) (citations
     omitted). But see Bostock, 2018 WL 3455013, *4 (Rosenbaum, J., dissenting from
     denial of reh’g en banc) (arguing that the Eleventh Circuit should take the issue en
     banc to explain why, in the majority’s view, “gender nonconformity claims are
     cognizable except for when a person fails to conform to the ‘ultimate’ gender
     stereotype by being attracted to the ‘wrong’ gender”) (citation omitted).

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     at 175 (explaining that “broad” language of Title IX evidenced Congress’ intent to give

     the statute a “broad reach”).55

                 Adams has proven a Title IX violation because the School Board, a federally

     funded institution, prohibits Adams, a transgender boy, from using the boys’ restroom

     “on the basis of sex,” which discrimination caused him harm.

     III.        Remedy

                 Having found that the School Board’s bathroom policy violates Adams’ rights

     under the Equal Protection Clause and Title IX, the Court must now consider the

     remedy. In his proposed findings of fact and conclusions of law, Adams has narrowed

     the scope of his requested injunctive relief from that requested in his amended

     complaint, and seeks to permanently enjoin the School Board “from enforcing any



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          The School Board argues the Court’s reliance on Title VII to inform the meaning
     of Title IX is misplaced because the Attorney General recently issued guidance
     rejecting an interpretation of “sex” to include “gender identity” in Title VII cases. See
     Doc. 152, Def. Ex. 248 (October 4, 2017 Attorney General Memorandum). But the
     EEOC, the agency responsible for the enforcement of Title VII, has acknowledged the
     Attorney General’s contrary view and still maintains its position that Title VII prohibits
     discrimination based on gender identity. See https://www.eeoc.gov/eeoc/newsroom/
     wysk/enforcement_protections_lgbt_workers.cfm (last visited July 25, 2018).
     Moreover, the Attorney General’s position is based on an analysis of precedent that
     is contrary to Glenn and other authorities cited above. See also Oncale v. Sundowner
     Offshore Servs., Inc., 523 U.S. 75, 79 (1998) (Scalia, J., for the unanimous court)
     (holding Title VII covered same-sex harassment, explaining “statutory prohibitions
     often go beyond the principal evil to cover reasonably comparable evils, and it is
     ultimately the provisions of our laws rather than the principal concerns of our
     legislators by which we are governed”). The Attorney General’s October 4, 2017
     Memorandum does not persuade the Court to change course.

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     policy, practice, or custom of the St. Johns County School District that denies

     transgender students access to and use of restrooms that match a student’s gender

     identity.”56 Doc. 175 at 50.

             The evidence has established that Drew Adams is a transgender boy. Adams

     has undergone social, medical, and legal transitions to present himself as a boy.

     Adams wears his hair short; he dresses like a boy; his voice is deeper than a girl’s;

     his family, peers, classmates and teachers use male pronouns to refer to him; he

     takes hormones which suppress menstruation and make his body more masculine,

     including the development of facial hair and typical male muscle development; he has

     had a double mastectomy so his body looks more like a boy; the state of Florida has

     provided him with a birth certificate and driver’s license which state he is a male; and

     when out in public, Adams uses the men’s restroom. As a transgender boy, Adams

     must be permitted to use the boys’ restroom at school.

             However, the Court has had no occasion in the context of this case to

     determine what threshold of transition, if any, is necessary for the School Board to

     accommodate other transgender students, nor did the parties ask the Court to do so.

     The Court received no evidence concerning any other transgender student. Thus, the




        56
         While his amended complaint sought access to “multi-user facilities” (Doc. 60 at
     21-22), there was no testimony or argument at trial about locker rooms or showers,
     and the Court’s ruling does not address access to those spaces.

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     injunction that will enter in this case will be limited to the plaintiff, Drew Adams.57

               “[D]amages for emotional distress or mental anguish are at best difficult to

     measure.” Benton v. Rousseau, 940 F. Supp. 2d 1370, 1379 (M.D. Fla. 2013)

     (quotation and citation omitted). The School Board argued that Adams is in therapy

     only as needed, he is not taking medications for anxiety or depression, and he

     suffered from pre-existing medical conditions, so it is hard to say that not using the

     boys’ restroom is really the cause of his distress. See, e.g., Doc. 160-1 at Tr. 90, 131,

     188. The Court also finds that Nease faculty and staff have operated in good faith

     and tried to accommodate Adams’ situation, lessening the emotional trauma.

     Nevertheless, while there was no expert testimony about a diagnosis of gender

     dysphoria for Adams, the Court is persuaded by the evidence that he suffered



          57
            Of course, nothing prevents the School Board from using this decision as
     guidance for future situations involving other transgender students. Notably, for some
     transgender students, the policy the school currently has may be sufficient, as the
     evidence revealed that not every transgender student is prepared to use the restroom
     corresponding to their gender identity. Boyertown may be instructive. Permission for
     transgender students to use gender-specific facilities consistent with their gender
     identity at Boyertown Area Senior High School is granted on a case-by-case basis
     only after a student meets with trained and licensed counselors, and other school
     administrators as needed. Once a transgender student is granted permission to use
     the facilities matching his or her gender identity, that student is no longer permitted
     to use the facilities corresponding to his or her sex assigned at birth. 893 F.3d at 185.
     See also Doc. 151, Pl. Ex. 68 (FHSAA) at § 4.3.2 (listing documentation needed for
     a student athlete to participate on a team consistent with his or her gender identity,
     including a statement from the student, other individuals such as parents, teachers,
     or friends, and a health care professional, affirming the student’s consistent gender
     identity and expression).

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     emotional damage, stigmatization and shame from not being permitted to use the

     boys’ restroom at school. See Sheely v. MRI Radiology Network, P.A., 505 F.3d

     1173, 1199 (11th Cir. 2007) (“As a matter of both common sense and case law,

     emotional distress is a predictable, and thus forseeable, consequence of

     discrimination.”); “Humiliation and insult are recognized, recoverable harms, and a

     plaintiff’s own testimony of embarrassment and humiliation can be sufficient to

     support an award for compensatory damages.” Bogle v. McClure, 332 F.3d 1347,

     1359 (11th Cir. 2003) (quotation and citation omitted) (upholding awards of punitive

     and compensatory damages in § 1983 race discrimination case); see also Goodin v.

     Bank of Amer., N.A., 114 F. Supp. 3d 1197, 1213 (M.D. Fla. 2015) (awarding

     emotional distress damages based on plaintiffs’ testimony, even though they did not

     seek medical attention and no expert or doctor testified); Adams proposes $25,000

     but that seems too high. After all, as Adams himself has argued (through counsel),

     the point of this case is not money. Based on the evidence, the Court will award

     Adams $1,000.00 in compensatory emotional distress damages.58




        58
           This $1,000.00 award will compensate Adams for his injuries arising out of the
     violations of the Equal Protection Clause and Title IX (the injuries from which are
     identical). See Fitzgerald, 555 U.S. at 254-55 (explaining that damages may be
     awarded for violations of both the Equal Protection Clause and Title IX). Adams is not
     entitled to double recovery so the total damages award remains $1,000.00.

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     IV.        Conclusion

                There is no doubt that the teachers and administrators of Nease High School

     and the St. Johns County School District are caring professionals who have the best

     interests of their students at heart. Likewise, Drew Adams presented himself as a

     polite, forthright individual who is, without rancor, seeking to vindicate his civil rights.

     The lawyers for both sides have also conducted themselves professionally. All

     involved are to be commended for the way they have handled a difficult and sensitive

     situation.

                Accordingly, it is hereby

                ORDERED:

                1.    By separate entry, the Court will enter Final Judgment, finding in favor

     of plaintiff, Drew Adams, a minor, by and through his next friend and mother, Erica

     Adams Kasper, and against the defendant, St. Johns County School Board, on

     Counts I (Equal Protection Clause) and II (Title IX) of Adams’ Amended Complaint

     (Doc. 60). The Court’s Final Judgment will incorporate an injunction preventing the

     St. Johns County School Board from enforcing its policy which prohibits Drew Adams

     from using the boys’ restrooms at Nease High School;59 and a compensatory

     damages award of $1,000.00.



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         For the reasons previously stated, the injunction will not apply to locker rooms
     and showers.

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           2.    The Court will retain jurisdiction to enforce the injunction and to address

     the matter of attorney’s fees and costs.

           3.    No later than September 4, 2018, plaintiff shall file his motion for

     attorney’s fees and costs under 42 U.S.C. § 1988. No later than October 1, 2018, the

     School Board shall respond. Any motion for bill of costs should follow this briefing

     schedule.

           DONE AND ORDERED at Jacksonville, Florida this 26th day of July, 2018.




     s.
     Copies:

     counsel of record




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